EXHIBIT 1
                                                                                                McDonald's Corporation v. Vanderbilt Atlantic Holdings LLC , Case No. 19‐cv‐06471 (E.D.N.Y.)
                                                                                                                                                           DEFENDANT'S PRIVILEGE LOG
                                                                                                                                                                                                         Email
  Control ID     Privilege Status   Privilege Type    Custodian                    Email From                                    Email To                                     Email CC                                              Email Subject                Record Type Chron Date‐Time               File Description                Narrative Description
                                                                                                                                                                                                          BCC
                                                                                                                                                           Raymond Levin
                                                                                                               Stefanie Marazzi                            [rlevin@slaterbeckerman.com];Tom Li                                                                                                                                Communication for the purpose of providing
CTRL00003355 Privileged ‐ Withhold Attorney Client Li, Tom        Sam Rottenberg [sam.rottenberg@gmail.com]    [Smarazzi@slaterbeckerman.com]              [tli@sprgp.com]                                       Re: 840 Atlantic                                Email         7/27/2018 16:31 Outlook Message File           legal advice concerning 840 Atlantic rezoning
                                                                                                                                                                                                                                                                                                                              Communication for the purpose of providing
CTRL00003357 Privileged ‐ Redact    Attorney Client Li, Tom       Sam Rottenberg [sam.rottenberg@gmail.com]    Tom Li [tli@sprgp.com]                                                                            Re: 840 Atlantic                                Email         7/27/2018 16:37 Outlook Message File           legal advice concerning 840 Atlantic rezoning
                                                                                                                                                           Raymond Levin
                                                                  Stefanie Marazzi                                                                         [rlevin@slaterbeckerman.com];Sam Rottenberg                                                                                                                        Communication for the purpose of providing
CTRL00003358 Privileged ‐ Withhold Attorney Client Li, Tom        [Smarazzi@slaterbeckerman.com]               Tom [tli@sprgp.com]                         [sam.rottenberg@gmail.com]                            RE: 840 Atlantic                                Email         7/27/2018 16:47 Outlook Message File           legal advice concerning 840 Atlantic rezoning
                                                                                                                                                           Raymond Levin
                                                                  Stefanie Marazzi                                                                         [rlevin@slaterbeckerman.com];Tom                                                                                                                                   Communication for the purpose of providing
CTRL00003365 Privileged ‐ Withhold Attorney Client Li, Tom        [Smarazzi@slaterbeckerman.com]               Sam Rottenberg [sam.rottenberg@gmail.com]   [tli@sprgp.com]                                       840 Atlantic ‐ Lobbying Registration Required   Email         7/27/2018 17:46 Outlook Message File           legal advice concerning 840 Atlantic rezoning
                                                                                                                                                           Raymond Levin
                                                                  Stefanie Marazzi                                                                         [rlevin@slaterbeckerman.com];Tom                                                                                                                                   Communication for the purpose of providing
CTRL00003367 Privileged ‐ Withhold Attorney Client Li, Tom        [Smarazzi@slaterbeckerman.com]               Sam Rottenberg [sam.rottenberg@gmail.com]   [tli@sprgp.com]                                       RE: 840 Atlantic ‐ Retainer                     Email         7/27/2018 18:03 Outlook Message File           legal advice concerning 840 Atlantic rezoning
                                                                                                                                                           Raymond Levin                                                                                                                                                      Communication for the purpose of providing
                                                                  Stefanie Marazzi                                                                         [rlevin@slaterbeckerman.com];Tom                      RE: 840 Atlantic ‐ Lobbying Registration                                                                     legal advice concerning Slater & Beckerman
CTRL00003609 Privileged ‐ Withhold Attorney Client Li, Tom        [Smarazzi@slaterbeckerman.com]               Sam Rottenberg [sam.rottenberg@gmail.com]   [tli@sprgp.com]                                       Required                                        Email          8/7/2018 14:53 Outlook Message File           lobbying agreement
                                                                                                                Stefanie Marazzi
                                                                                                               [Smarazzi@slaterbeckerman.com];'Raymond                                                                                                                                                                        Communication for the purpose of providing
CTRL00004774 Privileged ‐ Redact    Attorney Client Li, Tom       Sam Rottenberg [sam.rottenberg@gmail.com]    Levin' [rlevin@slaterbeckerman.com]         Tom [tli@sprgp.com]                                   RE: 840 Atlantic PAS                            Email        10/14/2018 23:11 Outlook Message File           legal advice concerning 840 Atlantic rezoning
                                                                                                               Sam Rottenberg
                                                                  Stefanie Marazzi                             [sam.rottenberg@gmail.com];Raymond Levin                                                                                                                                                                       Communication for the purpose of providing
CTRL00004812 Privileged ‐ Redact    Attorney Client Li, Tom       [Smarazzi@slaterbeckerman.com]               [rlevin@slaterbeckerman.com]                Tom [tli@sprgp.com]                                   RE: 840 Atlantic PAS                            Email        10/15/2018 17:33 Outlook Message File           legal advice concerning 840 Atlantic rezoning
                                                                  Stefanie Marazzi                                                                                                                                                                                                                                            Communication for the purpose of providing
CTRL00004838 Privileged ‐ Withhold Attorney Client Li, Tom        [Smarazzi@slaterbeckerman.com]               Tom [tli@sprgp.com]                         Sam Rottenberg [sam.rottenberg@gmail.com]             RE: Lobbying Question                           Email        10/15/2018 20:25 Outlook Message File           legal advice concerning 840 Atlantic rezoning
                                                                  Stefanie Marazzi                                                                         Tom [tli@sprgp.com];Raymond Levin                     FW: REVISED 840 Atlantic Avenue PAS (Project                                                                 Communication for the purpose of providing
CTRL00005104 Privileged ‐ Redact    Attorney Client Li, Tom       [Smarazzi@slaterbeckerman.com]               Sam Rottenberg [sam.rottenberg@gmail.com]   [rlevin@slaterbeckerman.com]                          ID No. 2018K0488)                            Email           10/24/2018 15:43 Outlook Message File           legal advice concerning 840 Atlantic rezoning
                                                                                                               'Aron Feldman' [aron@cdcony.com];'Zev                                                                                                                                                                          Email chain containing communications for the
                                                                                                               Steinmetz' [zev@cdcony.com];Tom                                                                   FW: REVISED 840 Atlantic Avenue PAS (Project                                                                 purpose of providing legal advice concerning
CTRL00005114 Privileged ‐ Redact    Attorney Client Li, Tom       Sam Rottenberg [sam.rottenberg@gmail.com]    [tli@sprgp.com]                                                                                   ID No. 2018K0488)                            Email           10/24/2018 19:40 Outlook Message File           840 Atlantic rezoning
                                                                                                                                                                                                                                                                                                                              Email chain containing communications for the
                                                                                                                                                           Zev Steinmetz [zev@cdcony.com];Tom                    Re: FW: REVISED 840 Atlantic Avenue PAS                                                                      purpose of providing legal advice concerning
CTRL00005116 Privileged ‐ Redact    Attorney Client Li, Tom       Aron Feldman [aron@cdcony.com]               Sam Rottenberg [sam.rottenberg@gmail.com]   [tli@sprgp.com]                                       (Project ID No. 2018K0488)                      Email        10/24/2018 19:52 Outlook Message File           840 Atlantic rezoning
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                                                                                                                                                           'Zev Steinmetz' [zev@cdcony.com];'Tom'                RE: FW: REVISED 840 Atlantic Avenue PAS                                                                      purpose of providing legal advice concerning
CTRL00005118 Privileged ‐ Redact    Attorney Client Li, Tom       Sam Rottenberg [sam.rottenberg@gmail.com]    'Aron Feldman' [aron@cdcony.com]            [tli@sprgp.com]                                       (Project ID No. 2018K0488)                      Email        10/24/2018 21:22 Outlook Message File           840 Atlantic rezoning
                                                                                                                                                                                                                                                                                                                              Email chain containing communications for the
                                                                                                                                                           Zev Steinmetz [zev@cdcony.com];Tom                    Re: FW: REVISED 840 Atlantic Avenue PAS                                                                      purpose of providing legal advice concerning
CTRL00005119 Privileged ‐ Redact    Attorney Client Li, Tom       Aron Feldman [aron@cdcony.com]               Sam Rottenberg [sam.rottenberg@gmail.com]   [tli@sprgp.com]                                       (Project ID No. 2018K0488)                      Email        10/24/2018 21:24 Outlook Message File           840 Atlantic rezoning

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                                                                                                                                                           'Zev Steinmetz' [zev@cdcony.com];'Tom'                RE: FW: REVISED 840 Atlantic Avenue PAS                                                                      purpose of providing legal advice concerning
CTRL00005127 Privileged ‐ Redact    Attorney Client Li, Tom       Sam Rottenberg [sam.rottenberg@gmail.com]    'Aron Feldman' [aron@cdcony.com]            [tli@sprgp.com]                                       (Project ID No. 2018K0488)                      Email        10/24/2018 23:49 Outlook Message File           840 Atlantic rezoning
                                                                                                                                                           Sam Rottenberg
                                                                                                                                                           [sam.rottenberg@gmail.com];Stefanie Marazzi                                                                                                                        Communication for the purpose of providing
                                                                                                                                                           [Smarazzi@slaterbeckerman.com];Robert                 Vanderbilt Atlantic Holdings LLC ‐ 2019                                                                      legal advice concerning Slater & Beckerman
CTRL00005852 Privileged ‐ Withhold Attorney Client Li, Tom        Taisha Pickett [tpickett@slaterbeckerman.com] Tom [tli@sprgp.com]                        Huberman [rhuberman@slaterbeckerman.com]              Lobbying Agreement ‐ Please Sign and Return     Email         12/6/2018 15:55 Outlook Message File           lobbying agreement
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                                                                                                                                                                                                                 Re: FW: Vanderbilt Atlantic Holdings LLC ‐ 2019                                                              legal advice concerning Slater & Beckerman
CTRL00005909 Privileged ‐ Redact    Attorney Client Li, Tom       Sam Rottenberg [sam.rottenberg@gmail.com] Tom Li [tli@sprgp.com]                                                                               Lobbying Agreement ‐ Please Sign and Return Email             12/7/2018 20:06 Outlook Message File           lobbying agreement
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                                                                                                                                                                                                                 Re: FW: Vanderbilt Atlantic Holdings LLC ‐ 2019                                                              legal advice concerning Slater & Beckerman
CTRL00005910 Privileged ‐ Redact    Attorney Client Li, Tom       Sam Rottenberg [sam.rottenberg@gmail.com]    Tom Li [tli@sprgp.com]                                                                            Lobbying Agreement ‐ Please Sign and Return Email             12/7/2018 20:08 Outlook Message File           lobbying agreement
                                                                                                                                                           Sam Rottenberg
                                                                                                                                                           [sam.rottenberg@gmail.com];Stefanie Marazzi           REMINDER: Vanderbilt Atlantic Holdings LLC ‐                                                                 Communication for the purpose of providing
                                                                                                                                                           [Smarazzi@slaterbeckerman.com];Robert                 2019 Lobbying Agreement ‐ Please Sign and                                                                    legal advice concerning Slater & Beckerman
CTRL00006226 Privileged ‐ Withhold Attorney Client Li, Tom        Taisha Pickett [tpickett@slaterbeckerman.com] Tom [tli@sprgp.com]                        Huberman [rhuberman@slaterbeckerman.com]              Return                                          Email        12/18/2018 20:47 Outlook Message File           lobbying agreement
                                                                                                                                                           Sam Rottenberg
                                                                                                                                                           [sam.rottenberg@gmail.com];Stefanie Marazzi           RE: REMINDER: Vanderbilt Atlantic Holdings LLC                                                               Communication for the purpose of providing
                                                                                                                                                           [Smarazzi@slaterbeckerman.com];Robert                 ‐ 2019 Lobbying Agreement ‐ Please Sign and                                                                  legal advice concerning Slater & Beckerman
CTRL00006228 Privileged ‐ Withhold Attorney Client Li, Tom        Taisha Pickett [tpickett@slaterbeckerman.com] Tom [tli@sprgp.com]                        Huberman [rhuberman@slaterbeckerman.com]              Return                                         Email         12/18/2018 21:01 Outlook Message File           lobbying agreement
                                                                                                                                                           Sam Rottenberg
                                                                                                                                                           [sam.rottenberg@gmail.com];Stefanie Marazzi           VANDERBILT ATLANTIC HOLDINGS LLC ‐ 2018                                                                      Communication for the purpose of providing
                                                                                                                                                           [Smarazzi@slaterbeckerman.com];Robert                 Annual (City) and Semi‐Annual (State) Lobbying                                                               legal advice concerning Slater & Beckerman
CTRL00006662 Privileged ‐ Withhold Attorney Client Li, Tom        Taisha Pickett [tpickett@slaterbeckerman.com] tli@sprgp.com                              Huberman [rhuberman@slaterbeckerman.com]              Reporting                                      Email           1/9/2019 19:05 Outlook Message File           lobbying agreement
                                                                                                                                                           Sam Rottenberg
                                                                                                                                                           [sam.rottenberg@gmail.com];Stefanie Marazzi           RE: VANDERBILT ATLANTIC HOLDINGS LLC ‐                                                                       Communication for the purpose of providing
                                                                                                                                                           [Smarazzi@slaterbeckerman.com];Robert                 2018 Annual (City) and Semi‐Annual (State)                                                                   legal advice concerning Slater & Beckerman
CTRL00006664 Privileged ‐ Withhold Attorney Client Li, Tom        Taisha Pickett [tpickett@slaterbeckerman.com] Tom [tli@sprgp.com]                        Huberman [rhuberman@slaterbeckerman.com]              Lobbying Reporting                              Email          1/9/2019 22:07 Outlook Message File           lobbying agreement
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CTRL00006729 Privileged ‐ Withhold Attorney Client Li, Tom        Rokeach, Tzvi [TRokeach@KRAMERLEVIN.com] Tom [tli@sprgp.com]                             Sam Rottenberg [sam.rottenberg@gmail.com]             Re: [EXTERNAL] RE: New matter/client B'klyn     Email         1/10/2019 22:44 Outlook Message File           agreements
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CTRL00006737 Privileged ‐ Withhold Attorney Client Li, Tom        Rokeach, Tzvi [TRokeach@KRAMERLEVIN.com] Tom [tli@sprgp.com]                             Sam Rottenberg [sam.rottenberg@gmail.com]             Re: [EXTERNAL] RE: New matter/client B'klyn     Email         1/11/2019 15:10 Outlook Message File           agreements
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CTRL00006740 Privileged ‐ Withhold Attorney Client Li, Tom        Sam Rottenberg [sam.rottenberg@gmail.com] Rokeach, Tzvi [TRokeach@kramerlevin.com]       Tom Li [tli@sprgp.com]                                Re: [EXTERNAL] RE: New matter/client B'klyn     Email         1/11/2019 15:27 Outlook Message File           agreements
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CTRL00006741 Privileged ‐ Withhold Attorney Client Li, Tom        Rokeach, Tzvi [TRokeach@KRAMERLEVIN.com] Sam Rottenberg [sam.rottenberg@gmail.com] Tom Li [tli@sprgp.com]                                      Re: [EXTERNAL] RE: New matter/client B'klyn     Email         1/11/2019 15:33 Outlook Message File           agreements
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                                                                                                               'Rokeach, Tzvi'                                                                                                                                                                                                legal advice concerning 840 Atlantic lease
CTRL00006770 Privileged ‐ Withhold Attorney Client Li, Tom        Sam Rottenberg [sam.rottenberg@gmail.com]    [TRokeach@KRAMERLEVIN.com]                  'Tom Li' [tli@sprgp.com]                              RE: [EXTERNAL] RE: New matter/client B'klyn     Email         1/14/2019 18:06 Outlook Message File           agreements




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  Control ID     Privilege Status   Privilege Type    Custodian                   Email From                                   Email To                                      Email CC                                          Email Subject                Record Type Chron Date‐Time               File Description                       Narrative Description
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CTRL00006772 Privileged ‐ Withhold Attorney Client Li, Tom        Rokeach, Tzvi [TRokeach@KRAMERLEVIN.com] Sam Rottenberg [sam.rottenberg@gmail.com] 'Tom Li' [tli@sprgp.com]                                 RE: [EXTERNAL] RE: New matter/client B'klyn   Email         1/14/2019 18:49 Outlook Message File                  agreements
                                                                                                                                                                                                                                                                                                                                Communication for the purpose of providing
                                                                                                              'Rokeach, Tzvi'                                                                                                                                                                                                   legal advice concerning 840 Atlantic lease
CTRL00006779 Privileged ‐ Withhold Attorney Client Li, Tom        Sam Rottenberg [sam.rottenberg@gmail.com]   [TRokeach@KRAMERLEVIN.com]                  'Tom Li' [tli@sprgp.com]                            RE: [EXTERNAL] RE: New matter/client B'klyn   Email         1/14/2019 20:41 Outlook Message File                  agreements
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CTRL00006789 Privileged ‐ Withhold Attorney Client Li, Tom        Rokeach, Tzvi [TRokeach@KRAMERLEVIN.com] Sam Rottenberg [sam.rottenberg@gmail.com] 'Tom Li' [tli@sprgp.com]                                 RE: [EXTERNAL] RE: New matter/client B'klyn   Email         1/14/2019 21:23 Outlook Message File                  agreements
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                                                                                                              'Rokeach, Tzvi'                                                                                                                                                                                                   legal advice concerning 840 Atlantic lease
CTRL00006794 Privileged ‐ Withhold Attorney Client Li, Tom        Sam Rottenberg [sam.rottenberg@gmail.com]   [TRokeach@KRAMERLEVIN.com]                  'Tom Li' [tli@sprgp.com]                            RE: [EXTERNAL] RE: New matter/client B'klyn   Email         1/14/2019 22:00 Outlook Message File                  agreements
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CTRL00006817 Privileged ‐ Withhold Attorney Client Li, Tom        Rokeach, Tzvi [TRokeach@KRAMERLEVIN.com] Tom [tli@sprgp.com]                            Sam Rottenberg [sam.rottenberg@gmail.com]           RE: New matter/client B'klyn                  Email         1/15/2019 18:44 Outlook Message File                  agreements
                                                                                                            'Rokeach, Tzvi'                                                                                                                                                                                                     Communication for the purpose of providing
                                                                                                            [TRokeach@KRAMERLEVIN.com];'Tom'                                                                                                                                                                                    legal advice concerning 840 Atlantic lease
CTRL00006844 Privileged ‐ Withhold Attorney Client Li, Tom        Sam Rottenberg [sam.rottenberg@gmail.com] [tli@sprgp.com]                                                                                   RE: New matter/client B'klyn                  Email         1/16/2019 19:21 Outlook Message File                  agreements
                                                                                                            Sam Rottenberg                                                                                                                                                                                                      Communication for the purpose of providing
                                                                                                            [sam.rottenberg@gmail.com];'Tom'                                                                                                                                                                                    legal advice concerning 840 Atlantic lease
CTRL00006853 Privileged ‐ Withhold Attorney Client Li, Tom        Rokeach, Tzvi [TRokeach@KRAMERLEVIN.com] [tli@sprgp.com]                                                                                    RE: [EXTERNAL] RE: New matter/client B'klyn   Email         1/16/2019 19:53 Outlook Message File                  agreements
                                                                                                            Sam Rottenberg                                                                                                                                                                                                      Communication for the purpose of providing
                                                                                                            [sam.rottenberg@gmail.com];'Tom'                                                                                                                                                                                    legal advice concerning 840 Atlantic lease
CTRL00006855 Privileged ‐ Withhold Attorney Client Li, Tom        Rokeach, Tzvi [TRokeach@KRAMERLEVIN.com] [tli@sprgp.com]                                                                                    RE: [EXTERNAL] RE: New matter/client B'klyn   Email         1/16/2019 21:19 Outlook Message File                  agreements
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CTRL00006856 Privileged ‐ Withhold Attorney Client Li, Tom                                                                                                                                                                                                  Attach        1/16/2019 21:19 Adobe Portable Document Format        concerning 840 Atlantic lease
                                                                                                           Sam Rottenberg                                                                                                                                                                                                       Communication for the purpose of providing
                                                                                                           [sam.rottenberg@gmail.com];Tom                                                                                                                                                                                       legal advice concerning McDonald’s lease
CTRL00006955 Privileged ‐ Withhold Attorney Client Li, Tom        Rokeach, Tzvi [TRokeach@KRAMERLEVIN.com] [tli@sprgp.com]                                                                                    Letter to McDonald's                          Email          1/18/2019 6:18 Outlook Message File                  renewal
                                                                                                                                                                                                                                                                                                                                Draft regarding and reflecting legal advice
CTRL00006956 Privileged ‐ Withhold Work Product Li, Tom                                                                                                                                                                                                     Attach         1/18/2019 6:18 Microsoft Office Word Open XML Format concerning McDonald’s lease renewal
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CTRL00007041 Privileged ‐ Withhold Attorney Client Li, Tom        Morris Missry [MISSRY@wmllp.com]            Tom [tli@sprgp.com]                         Sam Rottenberg [sam.rottenberg@gmail.com]           Re: 840 Atlantic Ave                          Email         1/22/2019 15:22 Outlook Message File                  renewal
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CTRL00007147 Privileged ‐ Withhold Attorney Client Li, Tom        Morris Missry [MISSRY@wmllp.com]            Tom [tli@sprgp.com]                         Sam Rottenberg [sam.rottenberg@gmail.com]           Re: 840 Atlantic Ave                          Email         1/24/2019 12:01 Outlook Message File                  renewal
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CTRL00007148 Privileged ‐ Withhold Attorney Client Li, Tom        Sam Rottenberg [sam.rottenberg@gmail.com] Morris Missry [MISSRY@wmllp.com]              Tom Li [tli@sprgp.com]                              Re: 840 Atlantic Ave                          Email         1/24/2019 14:00 Outlook Message File                  renewal
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CTRL00007149 Privileged ‐ Withhold Attorney Client Li, Tom        Morris Missry [MISSRY@wmllp.com]            Sam Rottenberg [sam.rottenberg@gmail.com] Tom Li [tli@sprgp.com]                                Re: 840 Atlantic Ave                          Email         1/24/2019 14:05 Outlook Message File                  renewal
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CTRL00007160 Privileged ‐ Withhold Attorney Client Li, Tom        Sam Rottenberg [sam.rottenberg@gmail.com] 'Morris Missry' [MISSRY@wmllp.com]            'Tom Li' [tli@sprgp.com]                            RE: 840 Atlantic Ave                          Email         1/24/2019 16:46 Outlook Message File                  renewal
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CTRL00007161 Privileged ‐ Withhold Attorney Client Li, Tom        Morris Missry [MISSRY@wmllp.com]            Sam Rottenberg [sam.rottenberg@gmail.com] Tom Li [tli@sprgp.com]                                Re: 840 Atlantic Ave                          Email         1/24/2019 16:50 Outlook Message File                  renewal
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CTRL00007162 Privileged ‐ Withhold Attorney Client Li, Tom        Sam Rottenberg [sam.rottenberg@gmail.com] 'Morris Missry' [MISSRY@wmllp.com]            'Tom Li' [tli@sprgp.com]                            RE: 840 Atlantic Ave                          Email         1/24/2019 17:01 Outlook Message File                  renewal
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CTRL00007163 Privileged ‐ Withhold Attorney Client Li, Tom        Morris Missry [MISSRY@wmllp.com]            Sam Rottenberg [sam.rottenberg@gmail.com] Tom Li [tli@sprgp.com]                                Re: 840 Atlantic Ave                          Email         1/24/2019 17:02 Outlook Message File                  renewal
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CTRL00007784 Privileged ‐ Withhold Attorney Client Li, Tom        Sam Rottenberg [sam.rottenberg@gmail.com] 'Morris Missry' [MISSRY@wmllp.com]            'Tom Li' [tli@sprgp.com]                            RE: 840 Atlantic Ave McDonalds call           Email         2/13/2019 16:35 Outlook Message File                  renewal
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CTRL00007787 Privileged ‐ Withhold Attorney Client Li, Tom        Morris Missry [MISSRY@wmllp.com]            Sam Rottenberg [sam.rottenberg@gmail.com] Tom Li [tli@sprgp.com]                                Re: 840 Atlantic Ave McDonalds call           Email         2/13/2019 16:41 Outlook Message File                  renewal
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CTRL00007793 Privileged ‐ Withhold Attorney Client Li, Tom        Sam Rottenberg [sam.rottenberg@gmail.com] Morris Missry [MISSRY@wmllp.com]              Tom Li [tli@sprgp.com]                              Re: 840 Atlantic Ave McDonalds call           Email         2/13/2019 19:28 Outlook Message File                  renewal
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CTRL00007804 Privileged ‐ Withhold Attorney Client Li, Tom        Morris Missry [MISSRY@wmllp.com]            Sam Rottenberg [sam.rottenberg@gmail.com] Tom Li [tli@sprgp.com]                                Re: 840 Atlantic Ave McDonalds call           Email         2/13/2019 23:36 Outlook Message File                  renewal
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CTRL00008004 Privileged ‐ Withhold Attorney Client Li, Tom        Sam Rottenberg [sam.rottenberg@gmail.com] 'Morris Missry' [MISSRY@wmllp.com]            'Tom Li' [tli@sprgp.com]                            RE: 840 Atlantic Ave McDonalds call           Email          2/22/2019 0:44 Outlook Message File                  renewal
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                                                                                                                                                          Tom Li [tli@sprgp.com];Abel Santamaria                                                                                                                                legal advice concerning McDonald’s lease
CTRL00008005 Privileged ‐ Withhold Attorney Client Li, Tom        Morris Missry [MISSRY@wmllp.com]            Sam Rottenberg [sam.rottenberg@gmail.com]   [Santamaria@wmllp.com]                              Re: 840 Atlantic Ave McDonalds call           Email          2/22/2019 0:59 Outlook Message File                  renewal
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CTRL00008239 Privileged ‐ Withhold Attorney Client Li, Tom        Sam Rottenberg [sam.rottenberg@gmail.com] 'Morris Missry' [MISSRY@wmllp.com]            'Tom Li' [tli@sprgp.com]                            RE: 840 Atlantic Ave McDonalds call           Email          3/4/2019 20:00 Outlook Message File                  renewal
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                                                                                                                                                                                                                                                                                                                                legal advice concerning McDonald’s lease
CTRL00008240 Privileged ‐ Withhold Attorney Client Li, Tom        Morris Missry [MISSRY@wmllp.com]            Sam Rottenberg [sam.rottenberg@gmail.com] 'Tom Li' [tli@sprgp.com]                              RE: 840 Atlantic Ave McDonalds call           Email          3/4/2019 20:01 Outlook Message File                  renewal
                                                                                                                                                                                                                                                                                                                                Communication for the purpose of providing
                                                                                                                                                                                                                                                                                                                                legal advice concerning McDonald’s lease
CTRL00008254 Privileged ‐ Redact    Attorney Client Li, Tom       Sam Rottenberg [sam.rottenberg@gmail.com] Tom Li [tli@sprgp.com]                                                                            Fwd: FW: L/C 031‐2093 Brooklyn, NY            Email          3/5/2019 16:04 Outlook Message File                  renewal




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                                                                                                McDonald's Corporation v. Vanderbilt Atlantic Holdings LLC , Case No. 19‐cv‐06471 (E.D.N.Y.)
                                                                                                                                                             DEFENDANT'S PRIVILEGE LOG
                                                                                                                                                                                                             Email
  Control ID     Privilege Status   Privilege Type    Custodian                    Email From                                    Email To                                      Email CC                                                 Email Subject               Record Type Chron Date‐Time               File Description                        Narrative Description
                                                                                                                                                                                                              BCC
                                                                                                               'Sam Rottenberg'                                                                                                                                                                                                         Communication for the purpose of providing
                                                                                                               [sam.rottenberg@gmail.com];Tom                                                                        Tenant Rent Letter ‐ McDonalds (840 Atlantic                                                                       legal advice concerning McDonald’s lease
CTRL00008886 Privileged ‐ Withhold Attorney Client Li, Tom        Morris Missry [MISSRY@wmllp.com]             [tli@sprgp.com]                                                                                       Ave).docx                                      Email          4/2/2019 19:12 Outlook Message File                  renewal
                                                                                                                                                                                                                                                                                                                                        Draft regarding and reflecting legal advice
CTRL00008887 Privileged ‐ Withhold Work Product Li, Tom                                                                                                                                                                                                             Attach         4/2/2019 19:12 Microsoft Office Word Open XML Format concerning McDonald’s lease renewal
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                                                                                                                                                                                                                                                                                                                                        legal advice concerning McDonald’s lease
CTRL00009197 Privileged ‐ Withhold Attorney Client Li, Tom        Sam Rottenberg [sam.rottenberg@gmail.com] 'Morris Missry' [MISSRY@wmllp.com]               Tom [tli@sprgp.com]                                     RE: L/C 031‐2093 Brooklyn, NY                  Email         4/15/2019 17:28 Outlook Message File                  renewal
                                                                                                                                                                                                                                                                                                                                        Communication for the purpose of providing
                                                                                                                                                                                                                                                                                                                                        legal advice concerning McDonald’s lease
CTRL00009198 Privileged ‐ Withhold Attorney Client Li, Tom        Morris Missry [MISSRY@wmllp.com]             Sam Rottenberg [sam.rottenberg@gmail.com] Tom [tli@sprgp.com]                                         RE: L/C 031‐2093 Brooklyn, NY                  Email         4/15/2019 17:30 Outlook Message File                  renewal
                                                                                                                                                                                                                                                                                                                                        Communication for the purpose of providing
                                                                                                                                                                                                                                                                                                                                        legal advice concerning McDonald’s lease
CTRL00009199 Privileged ‐ Withhold Attorney Client Li, Tom        Sam Rottenberg [sam.rottenberg@gmail.com] 'Morris Missry' [MISSRY@wmllp.com]               'Tom' [tli@sprgp.com]                                   RE: L/C 031‐2093 Brooklyn, NY                  Email         4/15/2019 17:35 Outlook Message File                  renewal
                                                                                                            Sam Rottenberg                                                                                                                                                                                                              Communication for the purpose of providing
                                                                                                            [sam.rottenberg@gmail.com];Tom                                                                           Vanderbilt to McDonalds Letter 04‐15‐19                                                                            legal advice concerning McDonald’s lease
CTRL00009207 Privileged ‐ Withhold Attorney Client Li, Tom        Morris Missry [MISSRY@wmllp.com]          [tli@sprgp.com]                                                                                          (00188524xDE802).DOCX                          Email         4/15/2019 20:11 Outlook Message File                  renewal
                                                                                                                                                                                                                                                                                                                                        Draft regarding and reflecting legal advice
CTRL00009208 Privileged ‐ Withhold Work Product Li, Tom                                                                                                                                                                                                             Attach        4/15/2019 20:11 Microsoft Office Word Open XML Format concerning McDonald’s lease renewal
                                                                                                               Sam Rottenberg                                                                                                                                                                                                           Communication for the purpose of providing
                                                                                                               [sam.rottenberg@gmail.com];Tom                                                                        Vanderbilt to McDonalds Letter 04‐15‐19                                                                            legal advice concerning McDonald’s lease
CTRL00009209 Privileged ‐ Withhold Attorney Client Li, Tom        Morris Missry [MISSRY@wmllp.com]             [tli@sprgp.com]                               Abel Santamaria [Santamaria@wmllp.com]                  (00188524xDE802).DOCX                          Email         4/15/2019 20:32 Outlook Message File                  renewal
                                                                                                                                                                                                                                                                                                                                        Draft regarding and reflecting legal advice
CTRL00009210 Privileged ‐ Withhold Work Product Li, Tom                                                                                                                                                                                                             Attach        4/15/2019 20:32 Microsoft Office Word Open XML Format concerning McDonald’s lease renewal
                                                                                                                                                                                                                                                                                                                                        Communication for the purpose of providing
                                                                                                                                                                                                                                                                                                                                        legal advice concerning McDonald’s lease
CTRL00009782 Privileged ‐ Redact    Attorney Client Li, Tom       Sam Rottenberg [sam.rottenberg@gmail.com]    Tom [tli@sprgp.com]                                                                                   FW: 840 Atlantic Ave                           Email         5/13/2019 20:19 Outlook Message File                  renewal
                                                                                                                                                                                                                                                                                                                                        Communication for the purpose of providing
                                                                                                                                                                                                                                                                                                                                        legal advice concerning McDonald’s lease
CTRL00010006 Privileged ‐ Redact    Attorney Client Li, Tom       Sam Rottenberg [sam.rottenberg@gmail.com] 'Morris Missry' [MISSRY@wmllp.com]               Tom [tli@sprgp.com]                                     RE: 840 Atlantic Ave                           Email         5/20/2019 19:11 Outlook Message File                  renewal
                                                                                                                                                                                                                                                                                                                                        Communication for the purpose of providing
                                                                                                                                                                                                                                                                                                                                        legal advice concerning McDonald’s lease
CTRL00010016 Privileged ‐ Redact    Attorney Client Li, Tom       Morris Missry [MISSRY@wmllp.com]             Sam Rottenberg [sam.rottenberg@gmail.com] Tom [tli@sprgp.com]                                         RE: 840 Atlantic Ave                       Email             5/20/2019 19:40 Outlook Message File                  renewal
                                                                                                                                                                                                                     RE: VANDERBILT ATLANTIC HOLDINGS LLC ‐
                                                                                                                                                                                                                     2018 Annual (City) and Semi‐Annual (State)                                                                          Communication for the purpose of providing
CTRL00011062 Privileged ‐ Withhold Attorney Client Li, Tom        Taisha Pickett [tpickett@slaterbeckerman.com] Tom [tli@sprgp.com]                                                                                  Lobbying Reporting                         Email             7/12/2019 15:18 Outlook Message File                   legal advice concerning 840 Atlantic rezoning
                                                                                                                                                             Stefanie Marazzi                                        VANDERBILT ATLANTIC HOLDINGS LLC ‐ JCOPE
                                                                                                                                                             [Smarazzi@slaterbeckerman.com];Benjamin                 SEMI ANNUAL (January ‐ June 2019)                                                                                   Communication for the purpose of providing
CTRL00011065 Privileged ‐ Withhold Attorney Client Li, Tom        Taisha Pickett [tpickett@slaterbeckerman.com] Tom [tli@sprgp.com]                          Stark [BStark@slaterbeckerman.com]                      INFORMATION                                Email             7/12/2019 18:20 Outlook Message File                   legal advice concerning 840 Atlantic rezoning
                                                                                                                                                                                                                                                                                                                                         Communication for the purpose of providing
                                                                                                                                                                                                                     Fwd: FW: L/C 031‐2093 Brooklyn, NY [MCD‐                                                                            legal advice concerning McDonald’s lease
CTRL00011235 Privileged ‐ Redact    Attorney Client Li, Tom       Sam Rottenberg [sam.rottenberg@gmail.com] Tom Li [tli@sprgp.com]                                                                                   LEGAL_USA.FID962110]                           Email         7/23/2019 19:46 Outlook Message File                   renewal
                                                                                                                                                                                                                                                                                                                                         Communication for the purpose of providing
                                                                                                                                                                                                                     FW: L_C 031‐2093 Brooklyn NY_Letter [MCD‐                                                                           legal advice concerning McDonald’s lease
CTRL00011876 Privileged ‐ Redact    Attorney Client Li, Tom       Sam Rottenberg [sam.rottenberg@gmail.com]    Tom [tli@sprgp.com]                                                                                   LEGAL_USA.FID962110]                           Email          9/3/2019 16:14 Outlook Message File                   renewal
                                                                                                                                                                                                                     Fwd: L_C 031‐2093 Brooklyn NY_Letter                                                                                Communication for the purpose of providing
                                                                                                                                                                                                                     Agreement(1081319.5) (002).doc [MCD‐                                                                                legal advice concerning McDonald’s lease
CTRL00012180 Privileged ‐ Redact    Attorney Client Li, Tom       Sam Rottenberg [sam.rottenberg@gmail.com] Tom Li [tli@sprgp.com]                                                                                   LEGAL_USA.FID962110]                           Email         9/16/2019 22:28 Outlook Message File                   renewal
                                                                                                                                                                                                                                                                                                                                         Communication for the purpose of providing
                                                                  Touchard, Cyril                                                                                                                                                                                                                                                        legal advice concerning 840 Atlantic lease
CTRL00012194 Privileged ‐ Withhold Attorney Client Li, Tom        [Cyril.Touchard@friedfrank.com]              Sam Rottenberg [sam.rottenberg@gmail.com] Tom [tli@sprgp.com]                                         RE: 840 Atlantic Ave ‐ McDonald's Lease        Email          9/17/2019 3:26 Outlook Message File                   agreements
                                                                                                                                                                                                                                                                                                                                         Communication for the purpose of providing
                                                                  Stefanie Marazzi                                                                           Tom [tli@sprgp.com];Stuart Beckerman                                                                                                                                        legal advice concerning Slater & Beckerman
CTRL00012487 Privileged ‐ Withhold Attorney Client Li, Tom        [Smarazzi@slaterbeckerman.com]               sam.rottenberg@gmail.com                      [sbeckerman@slaterbeckerman.com]                        840 Atlantic Avenue                            Email         10/9/2019 23:00 Outlook Message File                   lobbying agreement
                                                                                                                                                                                                                                                                                                                                         Communication for the purpose of providing
                                                                                                                                                                                                                                                                                                                                         legal advice concerning McDonald’s lease
CTRL00013038 Privileged ‐ Withhold Attorney Client Li, Tom        Morris Missry [MISSRY@wmllp.com]             Tom [tli@sprgp.com]                           Sam Rottenberg [sam.rottenberg@gmail.com]               Re: 840 Atlantic Ave ‐ option rent addendum    Email         11/6/2019 20:05 Outlook Message File                   renewal
                                                                                                               Sam Rottenberg                                                                                                                                                                                                            Communication for the purpose of providing
                                                                                                               [sam.rottenberg@gmail.com];Murray Schneier                                                                                                                                                                                legal advice concerning 840 Atlantic lease
CTRL00013620 Privileged ‐ Redact    Attorney Client Li, Tom       Tom [tli@sprgp.com]                          [MSchneier@eisemanlevine.com]                 JEiseman@eisemanlevine.com                              RE: 840 Atlantic Avenue                        Email        12/18/2017 17:55 Outlook Message File                   agreements
                                                                                                               Sam Rottenberg
                                                                                                               [sam.rottenberg@gmail.com];Stefanie Marazzi                                                                                                                                                                               Communication for the purpose of providing
CTRL00015816 Privileged ‐ Withhold Attorney Client Li, Tom        Tom [tli@sprgp.com]                          [Smarazzi@slaterbeckerman.com]                Raymond Levin [rlevin@slaterbeckerman.com]              Re: 840 Atlantic                               Email         7/27/2018 16:34 Outlook Message File                   legal advice concerning 840 Atlantic rezoning
                                                                                                               Sam Rottenberg
                                                                                                               [sam.rottenberg@gmail.com];Stefanie Marazzi                                                                                                                                                                               Communication for the purpose of providing
CTRL00015817 Privileged ‐ Withhold Attorney Client Li, Tom        Tom [tli@sprgp.com]                          [Smarazzi@slaterbeckerman.com]                Raymond Levin [rlevin@slaterbeckerman.com]              Re: 840 Atlantic                               Email         7/27/2018 16:42 Outlook Message File                   legal advice concerning 840 Atlantic rezoning
                                                                                                               Stefanie Marazzi                                                                                      Re: 840 Atlantic ‐ Lobbying Registration                                                                            Communication for the purpose of providing
CTRL00015940 Privileged ‐ Withhold Attorney Client Li, Tom        Tom [tli@sprgp.com]                          [Smarazzi@slaterbeckerman.com]                                                                        Required                                       Email          8/7/2018 14:59 Outlook Message File                   legal advice concerning 840 Atlantic rezoning
                                                                                                               Stefanie Marazzi                                                                                      RE: 840 Atlantic ‐ Lobbying Registration                                                                            Communication for the purpose of providing
CTRL00015955 Privileged ‐ Withhold Attorney Client Li, Tom        Tom [tli@sprgp.com]                          [Smarazzi@slaterbeckerman.com]                                                                        Required                                       Email          8/7/2018 20:53 Outlook Message File                   legal advice concerning 840 Atlantic rezoning
                                                                                                               Stefanie Marazzi
                                                                                                               [Smarazzi@slaterbeckerman.com];Sam                                                                    RE: 840 Atlantic ‐ Lobbying Registration                                                                            Communication for the purpose of providing
CTRL00015989 Privileged ‐ Withhold Attorney Client Li, Tom        Tom [tli@sprgp.com]                          Rottenberg [sam.rottenberg@gmail.com]         Raymond Levin [rlevin@slaterbeckerman.com]              Required                                       Email          8/9/2018 15:12 Outlook Message File                   legal advice concerning 840 Atlantic rezoning
                                                                                                               Stefanie Marazzi
                                                                                                               [Smarazzi@slaterbeckerman.com];Sam                                                                                                                                                                                        Communication for the purpose of providing
CTRL00016028 Privileged ‐ Withhold Attorney Client Li, Tom        Tom [tli@sprgp.com]                          Rottenberg [sam.rottenberg@gmail.com]         Taisha Pickett [tpickett@slaterbeckerman.com]           RE: Lobbying Question                          Email         8/13/2018 22:01 Outlook Message File                   legal advice concerning 840 Atlantic rezoning
                                                                                                               Stefanie Marazzi                                                                                                                                                                                                          Communication for the purpose of providing
CTRL00017033 Privileged ‐ Withhold Attorney Client Li, Tom        Tom [tli@sprgp.com]                          [Smarazzi@slaterbeckerman.com]                Sam Rottenberg [sam.rottenberg@gmail.com]               Re: Lobbying Question                          Email        10/15/2018 20:26 Outlook Message File                   legal advice concerning 840 Atlantic rezoning
                                                                                                               Stefanie Marazzi                                                                                                                                                                                                          Communication for the purpose of providing
CTRL00017075 Privileged ‐ Withhold Attorney Client Li, Tom        Tom [tli@sprgp.com]                          [Smarazzi@slaterbeckerman.com]                Sam Rottenberg [sam.rottenberg@gmail.com]               Re: Lobbying Question                          Email        10/16/2018 17:11 Outlook Message File                   legal advice concerning 840 Atlantic rezoning
                                                                                                                                                                                                                                                                                                                                         Communication for the purpose of providing
                                                                                                                                                                                                                     FW: Vanderbilt Atlantic Holdings LLC ‐ 2019                                                                         legal advice concerning Slater & Beckerman
CTRL00017871 Privileged ‐ Redact    Attorney Client Li, Tom       Tom [tli@sprgp.com]                          Sam Rottenberg [sam.rottenberg@gmail.com]                                                             Lobbying Agreement ‐ Please Sign and Return    Email         12/7/2018 16:13 Outlook Message File                   lobbying agreement
                                                                                                                                                                                                                                                                                                                                         Communication for the purpose of providing
                                                                                                                                                                                                                     RE: FW: Vanderbilt Atlantic Holdings LLC ‐ 2019                                                                     legal advice concerning Slater & Beckerman
CTRL00017881 Privileged ‐ Redact    Attorney Client Li, Tom       Tom [tli@sprgp.com]                          Sam Rottenberg [sam.rottenberg@gmail.com]                                                             Lobbying Agreement ‐ Please Sign and Return Email            12/7/2018 20:09 Outlook Message File                   lobbying agreement




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                                                                                                                                                          DEFENDANT'S PRIVILEGE LOG
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  Control ID     Privilege Status   Privilege Type    Custodian                   Email From                                    Email To                                       Email CC                                              Email Subject              Record Type Chron Date‐Time                File Description                         Narrative Description
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                                                                                                                                                                                                                  RE: FW: Vanderbilt Atlantic Holdings LLC ‐ 2019                                                                      legal advice concerning Slater & Beckerman
CTRL00017884 Privileged ‐ Redact    Attorney Client Li, Tom       Tom [tli@sprgp.com]                         Sam Rottenberg [sam.rottenberg@gmail.com]                                                           Lobbying Agreement ‐ Please Sign and Return Email           12/7/2018 20:12 Outlook Message File                     lobbying agreement
                                                                                                                                                            Sam Rottenberg
                                                                                                                                                            [sam.rottenberg@gmail.com];Stefanie Marazzi                                                                                                                                Communication for the purpose of providing
                                                                                                                                                            [Smarazzi@slaterbeckerman.com];Robert                 RE: Vanderbilt Atlantic Holdings LLC ‐ 2019                                                                          legal advice concerning Slater & Beckerman
CTRL00017947 Privileged ‐ Withhold Attorney Client Li, Tom        Tom [tli@sprgp.com]                         Taisha Pickett [tpickett@slaterbeckerman.com] Huberman [rhuberman@slaterbeckerman.com]              Lobbying Agreement ‐ Please Sign and Return   Email         12/12/2018 0:40 Outlook Message File                     lobbying agreement
                                                                                                                                                            Sam Rottenberg
                                                                                                                                                            [sam.rottenberg@gmail.com];Stefanie Marazzi           RE: REMINDER: Vanderbilt Atlantic Holdings LLC                                                                       Communication for the purpose of providing
                                                                                                                                                            [Smarazzi@slaterbeckerman.com];Robert                 ‐ 2019 Lobbying Agreement ‐ Please Sign and                                                                          legal advice concerning Slater & Beckerman
CTRL00018093 Privileged ‐ Withhold Attorney Client Li, Tom        Tom [tli@sprgp.com]                         Taisha Pickett [tpickett@slaterbeckerman.com] Huberman [rhuberman@slaterbeckerman.com]              Return                                         Email       12/18/2018 21:00 Outlook Message File                     lobbying agreement
                                                                                                                                                            Sam Rottenberg
                                                                                                                                                            [sam.rottenberg@gmail.com];Stefanie Marazzi           RE: VANDERBILT ATLANTIC HOLDINGS LLC ‐
                                                                                                                                                            [Smarazzi@slaterbeckerman.com];Robert                 2018 Annual (City) and Semi‐Annual (State)                                                                           Communication for the purpose of providing
CTRL00018392 Privileged ‐ Withhold Attorney Client Li, Tom        Tom [tli@sprgp.com]                         Taisha Pickett [tpickett@slaterbeckerman.com] Huberman [rhuberman@slaterbeckerman.com]              Lobbying Reporting                            Email          1/9/2019 22:01 Outlook Message File                     legal advice concerning 840 Atlantic rezoning
                                                                                                                                                            Sam Rottenberg
                                                                                                                                                            [sam.rottenberg@gmail.com];Stefanie Marazzi           RE: VANDERBILT ATLANTIC HOLDINGS LLC ‐
                                                                                                                                                            [Smarazzi@slaterbeckerman.com];Robert                 2018 Annual (City) and Semi‐Annual (State)                                                                        Communication for the purpose of providing
CTRL00018398 Privileged ‐ Withhold Attorney Client Li, Tom        Tom [tli@sprgp.com]                         Taisha Pickett [tpickett@slaterbeckerman.com] Huberman [rhuberman@slaterbeckerman.com]              Lobbying Reporting                            Email          1/9/2019 22:08 Outlook Message File                  legal advice concerning 840 Atlantic rezoning
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CTRL00018411 Privileged ‐ Withhold Attorney Client Li, Tom        Tom [tli@sprgp.com]                         trokeach@kramerlevin.com                        Sam Rottenberg [sam.rottenberg@gmail.com]           RE: New matter/client B'klyn                  Email         1/10/2019 19:21 Outlook Message File                  agreements
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CTRL00018502 Privileged ‐ Withhold Attorney Client Li, Tom        Tom [tli@sprgp.com]                         trokeach@kramerlevin.com                        Sam Rottenberg [sam.rottenberg@gmail.com]           RE: New matter/client B'klyn                  Email         1/15/2019 17:59 Outlook Message File                  agreements
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CTRL00018510 Privileged ‐ Withhold Attorney Client Li, Tom        Tom [tli@sprgp.com]                         Rokeach, Tzvi [TRokeach@KRAMERLEVIN.com] Sam Rottenberg [sam.rottenberg@gmail.com]                  RE: New matter/client B'klyn                  Email         1/15/2019 18:58 Outlook Message File                  agreements
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CTRL00018682 Privileged ‐ Withhold Attorney Client Li, Tom        Tom [tli@sprgp.com]                         missry@wmllp.com                                Sam Rottenberg [sam.rottenberg@gmail.com]           840 Atlantic Ave                              Email         1/22/2019 15:14 Outlook Message File                  agreements
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CTRL00019016 Privileged ‐ Withhold Attorney Client Li, Tom        Tom [tli@sprgp.com]                         missry@wmllp.com                                Sam Rottenberg [sam.rottenberg@gmail.com]           RE: 840 Atlantic Ave                          Email          2/6/2019 22:27 Outlook Message File                  legal advice concerning 840 Atlantic appraisal
                                                                                                                                                                                                                                                                                                                                    Communication for the purpose of providing
                                                                                                              Morris Missry [MISSRY@wmllp.com];'Sam                                                               RE: Tenant Rent Letter ‐ McDonalds (840                                                                           legal advice concerning McDonald’s lease
CTRL00019934 Privileged ‐ Withhold Attorney Client Li, Tom        Tom [tli@sprgp.com]                         Rottenberg' [sam.rottenberg@gmail.com]                                                              Atlantic Ave).docx                            Email          4/2/2019 20:20 Outlook Message File                  renewal
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CTRL00019935 Privileged ‐ Withhold Work Product Li, Tom                                                                                                                                                                                                         Attach         4/2/2019 20:20 Adobe Portable Document Format        concerning McDonald’s lease renewal
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CTRL00019936 Privileged ‐ Withhold Work Product Li, Tom                                                                                                                                                                                                         Attach         4/2/2019 20:20 Microsoft Office Word Open XML Format concerning McDonald’s lease renewal
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                                                                                                              Morris Missry [MISSRY@wmllp.com];'Sam                                                               RE: Tenant Rent Letter ‐ McDonalds (840                                                                           legal advice concerning McDonald’s lease
CTRL00019941 Privileged ‐ Withhold Attorney Client Li, Tom        Tom [tli@sprgp.com]                         Rottenberg' [sam.rottenberg@gmail.com]                                                              Atlantic Ave).docx                            Email          4/2/2019 22:02 Outlook Message File                  renewal
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                                                                                                              Morris Missry [MISSRY@wmllp.com];Sam                                                                RE: Vanderbilt to McDonalds Letter 04‐15‐19                                                                       legal advice concerning McDonald’s lease
CTRL00020148 Privileged ‐ Withhold Attorney Client Li, Tom        Tom [tli@sprgp.com]                         Rottenberg [sam.rottenberg@gmail.com]           Abel Santamaria [Santamaria@wmllp.com]              (00188524xDE802).DOCX                         Email         4/15/2019 21:20 Outlook Message File                  renewal
                                                                                                                                                                                                                  Re: VANDERBILT ATLANTIC HOLDINGS LLC ‐
                                                                                                                                                                                                                  2018 Annual (City) and Semi‐Annual (State)                                                                           Communication for the purpose of providing
CTRL00021527 Privileged ‐ Withhold Attorney Client Li, Tom        Tom [tli@sprgp.com]                         Taisha Pickett [tpickett@slaterbeckerman.com]                                                       Lobbying Reporting                            Email         7/12/2019 15:04 Outlook Message File                     legal advice concerning 840 Atlantic rezoning
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CTRL00022116 Privileged ‐ Withhold Attorney Client Li, Tom        Tom [tli@sprgp.com]                         cyril.touchard@friedfrank.com                   Sam Rottenberg [sam.rottenberg@gmail.com]           840 Atlantic Ave ‐ McDonald's Lease           Email         9/10/2019 18:59 Outlook Message File                     agreements
                                                                                                                                                                                                                  RE: L_C 031‐2093 Brooklyn NY_Letter                                                                                  Communication for the purpose of providing
                                                                                                                                                                                                                  Agreement(1081319.5) (002).doc [MCD‐                                                                                 legal advice concerning McDonald’s lease
CTRL00022221 Privileged ‐ Redact    Attorney Client Li, Tom       Tom [tli@sprgp.com]                         missry@wmllp.com                                Sam Rottenberg [sam.rottenberg@gmail.com]           LEGAL_USA.FID962110]                          Email         9/17/2019 19:47 Outlook Message File                     renewal
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CTRL00022706 Privileged ‐ Withhold Attorney Client Li, Tom        Tom [tli@sprgp.com]                         missry@wmllp.com                                Sam Rottenberg [sam.rottenberg@gmail.com]           840 Atlantic Ave ‐ option rent addendum       Email         11/6/2019 20:00 Outlook Message File                     renewal
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CTRL00023765 Privileged ‐ Withhold Attorney Client Li, Tom                                                    trokeach@kramerlevin.com                        Sam Rottenberg [sam.rottenberg@gmail.com]           RE: New matter/client B'klyn                  Email         1/15/2019 22:33 Outlook Message File                     agreements
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                                                   Rottenberg,    Jonathan Eiseman                                                                                                                                                                                                                                                     legal advice concerning 840 Atlantic lease
CTRL00040350 Privileged ‐ Withhold Attorney Client Sam            [JEiseman@eisemanlevine.com]                Sam Rottenberg [sam.rottenberg@gmail.com]                                                           RE: 840 Atlantic Avenue, Brooklyn             Email         6/15/2017 16:05 Outlook Message File                     agreements
                                                                                                                                                                                                                                                                                                                                       Communication for the purpose of providing
                                                   Rottenberg,                                                'Jonathan Eiseman'                                                                                                                                                                                                       legal advice concerning 840 Atlantic lease
CTRL00040351 Privileged ‐ Withhold Attorney Client Sam            Sam Rottenberg [sam.rottenberg@gmail.com]   [JEiseman@eisemanlevine.com]                                                                        840 Atlantic Avenue, Brooklyn                 Email         6/15/2017 15:43 Outlook Message File                     agreements
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                                                   Rottenberg,    Jonathan Eiseman                                                                                                                                                                                                                                                     legal advice concerning 840 Atlantic lease
CTRL00040372 Privileged ‐ Withhold Attorney Client Sam            [JEiseman@eisemanlevine.com]                Sam Rottenberg [sam.rottenberg@gmail.com]                                                           RE: 840 Atlantic Avenue, Brooklyn             Email         6/15/2017 21:14 Outlook Message File                     agreements
                                                   Rottenberg,                                                                                                                                                                                                                                                                         Draft regarding and reflecting legal advice
CTRL00040373 Privileged ‐ Withhold Attorney Client Sam                                                                                                                                                                                                          Attach        6/15/2017 21:14 Adobe Portable Document Format           concerning 840 Atlantic lease agreements
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                                                   Rottenberg,    Jonathan Eiseman                                                                                                                                                                                                                                                     legal advice concerning 840 Atlantic lease
CTRL00040489 Privileged ‐ Withhold Attorney Client Sam            [JEiseman@eisemanlevine.com]                Sam Rottenberg [sam.rottenberg@gmail.com]                                                           RE: 840 Atlantic Avenue, Brooklyn             Email         6/19/2017 18:22 Outlook Message File                     agreements
                                                                                                                                                                                                                                                                                                                                       Communication for the purpose of providing
                                                   Rottenberg,                                                'Jonathan Eiseman'                                                                                                                                                                                                       legal advice concerning 840 Atlantic lease
CTRL00040490 Privileged ‐ Withhold Attorney Client Sam            Sam Rottenberg [sam.rottenberg@gmail.com]   [JEiseman@eisemanlevine.com]                                                                        RE: 840 Atlantic Avenue, Brooklyn             Email         6/19/2017 18:21 Outlook Message File                     agreements
                                                   Rottenberg,                                                                                                                                                                                                                                                                         Draft regarding and reflecting legal advice
CTRL00040491 Privileged ‐ Withhold Attorney Client Sam                                                                                                                                                                                                          Attach        6/19/2017 18:21 Adobe Portable Document Format           concerning 840 Atlantic lease agreements
                                                                                                                                                                                                                                                                                                                                       Communication for the purpose of providing
                                                   Rottenberg,                                                'Jonathan Eiseman'                                                                                                                                                                                                       legal advice concerning 840 Atlantic lease
CTRL00040494 Privileged ‐ Withhold Attorney Client Sam            Sam Rottenberg [sam.rottenberg@gmail.com]   [JEiseman@eisemanlevine.com]                                                                        RE: 840 Atlantic Avenue, Brooklyn             Email         6/16/2017 16:33 Outlook Message File                     agreements




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                                                                                                 McDonald's Corporation v. Vanderbilt Atlantic Holdings LLC , Case No. 19‐cv‐06471 (E.D.N.Y.)
                                                                                                                                                           DEFENDANT'S PRIVILEGE LOG
                                                                                                                                                                                                       Email
  Control ID     Privilege Status    Privilege Type    Custodian                    Email From                                   Email To                                    Email CC                                            Email Subject         Record Type Chron Date‐Time                File Description                         Narrative Description
                                                                                                                                                                                                        BCC
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                                                   Rottenberg,     Jonathan Eiseman                                                                        Murray Schneier                                                                                                                                                 legal advice concerning 840 Atlantic lease
CTRL00042056 Privileged ‐ Withhold Attorney Client Sam             [JEiseman@eisemanlevine.com]                Sam Rottenberg [sam.rottenberg@gmail.com]   [MSchneier@eisemanlevine.com]                       840 Atlantic                            Email         7/31/2017 14:46 Outlook Message File                  agreements
                                                   Rottenberg,                                                                                                                                                                                                                                                             Draft regarding and reflecting legal advice
CTRL00042057 Privileged ‐ Withhold Work Product Sam                                                                                                                                                                                                    Attach        7/31/2017 14:46 Microsoft Word 97 ‐ 2003 Document     concerning 840 Atlantic lease agreements
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                                                   Rottenberg,     Jonathan Eiseman                                                                        Murray Schneier                                                                                                                                                 legal advice concerning 840 Atlantic lease
CTRL00042188 Privileged ‐ Withhold Attorney Client Sam             [JEiseman@eisemanlevine.com]                Sam Rottenberg [sam.rottenberg@gmail.com]   [MSchneier@eisemanlevine.com]                                                               Email          8/3/2017 20:30 Outlook Message File                  agreements
                                                   Rottenberg,                                                                                                                                                                                                                                                             Draft regarding and reflecting legal advice
CTRL00042189 Privileged ‐ Withhold Work Product Sam                                                                                                                                                                                                    Attach         8/3/2017 20:30 Microsoft Word 97 ‐ 2003 Document     concerning 840 Atlantic lease agreements
                                                   Rottenberg,                                                                                                                                                                                                                                                             Draft regarding and reflecting legal advice
CTRL00042257 Privileged ‐ Withhold Work Product Sam                                                                                                                                                                                                    Attach        7/31/2017 20:01 Microsoft Word 97 ‐ 2003 Document     concerning 840 Atlantic lease agreements
                                                                                                                                                                                                                                                                                                                           Communication for the purpose of providing
                                                   Rottenberg,                                                                                                                                                                                                                                                             legal advice concerning 840 Atlantic lease
CTRL00045167 Privileged ‐ Withhold Attorney Client Sam             Sam Rottenberg [sam.rottenberg@gmail.com] rmoskowitz@stroock.com                                                                            FW: Atlantic Ave lease                  Email        10/25/2017 21:43 Outlook Message File                  agreements
                                                                                                                                                                                                                                                                                                                           Communication for the purpose of providing
                                                   Rottenberg,                                                                                                                                                                                                                                                             legal advice concerning 840 Atlantic lease
CTRL00045794 Privileged ‐ Withhold Attorney Client Sam             Selver, Paul [PSelver@KRAMERLEVIN.com]      Sam Rottenberg [sam.rottenberg@gmail.com]                                                       RE: [EXTERNAL] FW: Atlantic Ave lease   Email         11/6/2017 14:00 Outlook Message File                  agreements
                                                                                                                                                                                                                                                                                                                           Communication for the purpose of providing
                                                   Rottenberg,                                                                                                                                                                                                                                                             legal advice concerning 840 Atlantic lease
CTRL00045795 Privileged ‐ Withhold Attorney Client Sam             Sam Rottenberg [sam.rottenberg@gmail.com] Selver, Paul [PSelver@KRAMERLEVIN.com]                                                            FW: Atlantic Ave lease                  Email         11/2/2017 16:08 Outlook Message File                  agreements
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                                                   Rottenberg,                                                 'Bernstein, Zachary'                                                                                                                                                                                        legal advice concerning 840 Atlantic lease
CTRL00045796 Privileged ‐ Withhold Attorney Client Sam             Sam Rottenberg [sam.rottenberg@gmail.com]   [Zachary.Bernstein@friedfrank.com]                                                              FW: Atlantic Ave lease                  Email         11/2/2017 15:28 Outlook Message File                  agreements
                                                                                                                                                                                                                                                                                                                           Communication for the purpose of providing
                                                   Rottenberg,     Bernstein, Zachary                                                                                                                                                                                                                                      legal advice concerning 840 Atlantic lease
CTRL00045804 Privileged ‐ Withhold Attorney Client Sam             [Zachary.Bernstein@friedfrank.com]          Sam Rottenberg [sam.rottenberg@gmail.com] Kozin, Jeremy [Jeremy.Kozin@friedfrank.com]           FW: 840 Atlantic Avenue ‐ Revised       Email         11/6/2017 15:05 Outlook Message File                  agreements
                                                   Rottenberg,                                                                                                                                                                                                                                                             Attachment regarding and reflecting legal
CTRL00045805 Privileged ‐ Withhold Work Product Sam                                                                                                                                                                                                    Attach        11/6/2017 15:05 Adobe Portable Document Format        advice concerning 840 Atlantic lease
                                                   Rottenberg,                                                                                                                                                                                                                                                             Attachment regarding and reflecting legal
CTRL00045806 Privileged ‐ Withhold Work Product Sam                                                                                                                                                                                                    Attach        11/6/2017 15:05 Microsoft Office Word Open XML Format advice concerning 840 Atlantic lease
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                                                   Rottenberg,     Murray Schneier                                                                                                                                                                                                                                         legal advice concerning McDonald’s lease
CTRL00046202 Privileged ‐ Withhold Attorney Client Sam             [MSchneier@EisemanLevine.com]               Sam Rottenberg [sam.rottenberg@gmail.com]                                                       840 Atlantic Avenue                     Email        11/13/2017 15:41 Outlook Message File                  renewal
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                                                   Rottenberg,     Murray Schneier                                                                                                                                                                                                                                         legal advice concerning McDonald’s lease
CTRL00046257 Privileged ‐ Withhold Attorney Client Sam             [MSchneier@EisemanLevine.com]               Sam Rottenberg [sam.rottenberg@gmail.com]                                                       RE: 840 Atlantic Avenue                 Email        11/14/2017 15:53 Outlook Message File                  renewal
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                                                     Rottenberg,                                               'Murray Schneier'                                                                                                                                                                                           legal advice concerning McDonald’s lease
CTRL00046258 Privileged ‐ Withhold   Attorney Client Sam           Sam Rottenberg [sam.rottenberg@gmail.com]   [MSchneier@EisemanLevine.com]                                                                   RE: 840 Atlantic Avenue                 Email        11/13/2017 19:13 Outlook Message File                  renewal
                                                     Rottenberg,   Murray Schneier                                                                                                                                                                                                                                         Communication for the purpose of providing
CTRL00053502 Privileged ‐ Withhold   Attorney Client Sam           [MSchneier@EisemanLevine.com]             Sam Rottenberg [sam.rottenberg@gmail.com]                                                         Atlantic Avenue                         Email          5/8/2018 14:35 Outlook Message File                  legal advice concerning 840 Atlantic appraisal
                                                     Rottenberg,   Murray Schneier                                                                                                                                                                                                                                         Communication for the purpose of providing
CTRL00053524 Privileged ‐ Withhold   Attorney Client Sam           [MSchneier@EisemanLevine.com]             Sam Rottenberg [sam.rottenberg@gmail.com]                                                         RE: Atlantic Avenue                     Email          5/8/2018 16:28 Outlook Message File                  legal advice concerning 840 Atlantic appraisal
                                                     Rottenberg,                                             Murray Schneier                                                                                                                                                                                               Communication for the purpose of providing
CTRL00053525 Privileged ‐ Withhold   Attorney Client Sam           Sam Rottenberg [sam.rottenberg@gmail.com] [MSchneier@eisemanlevine.com]                                                                     Re: Atlantic Avenue                     Email          5/8/2018 16:16 Outlook Message File                  legal advice concerning 840 Atlantic appraisal
                                                     Rottenberg,   Murray Schneier                                                                     Jonathan Eiseman                                                                                                                                                    Communication for the purpose of providing
CTRL00053581 Privileged ‐ Withhold   Attorney Client Sam           [MSchneier@EisemanLevine.com]             Sam Rottenberg [sam.rottenberg@gmail.com] [JEiseman@EisemanLevine.com]                            McDonald's                              Email          5/9/2018 19:37 Outlook Message File                  legal advice concerning 840 Atlantic appraisal
                                                     Rottenberg,                                                                                                                                                                                                                                                           Draft regarding and reflecting legal advice
CTRL00053582 Privileged ‐ Withhold   Work Product Sam                                                                                                                                                                                                  Attach         5/9/2018 19:37 Microsoft Office Word Open XML Format concerning 840 Atlantic appraisal
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                                                   Rottenberg,                                                 'sam.rottenberg@gmail.com'                                                                                                                                                                                  legal advice concerning 840 Atlantic lease
CTRL00055830 Privileged ‐ Withhold Attorney Client Sam             Moskowitz, Ross F. [rmoskowitz@stroock.com] [sam.rottenberg@gmail.com]                  Doukas, Ashley E. [adoukas@stroock.com]             FW: 840 Atlantic Ave                    Email         6/25/2018 17:43 Outlook Message File                  agreements
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                                                   Rottenberg,                                                                                                                                                                                                                                                             legal advice concerning 840 Atlantic lease
CTRL00056056 Privileged ‐ Withhold Attorney Client Sam             Moskowitz, Ross F. [rmoskowitz@stroock.com] 'Sam Rottenberg' [sam.rottenberg@gmail.com] Doukas, Ashley E. [adoukas@stroock.com]             Re: 840 Atlantic Ave                    Email         6/29/2018 21:23 Outlook Message File                  agreements
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                                                   Rottenberg,                                                                                                                                                                                                                                                             legal advice concerning 840 Atlantic lease
CTRL00056057 Privileged ‐ Withhold Attorney Client Sam             Sam Rottenberg [sam.rottenberg@gmail.com] Moskowitz, Ross F. [rmoskowitz@stroock.com] Doukas, Ashley E. [adoukas@stroock.com]               Re: 840 Atlantic Ave                    Email         6/29/2018 15:09 Outlook Message File                  agreements
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                                                   Rottenberg,                                                 'Moskowitz, Ross F.'                                                                                                                                                                                        legal advice concerning 840 Atlantic lease
CTRL00056059 Privileged ‐ Withhold Attorney Client Sam             Sam Rottenberg [sam.rottenberg@gmail.com]   [rmoskowitz@stroock.com]                    'Doukas, Ashley E.' [adoukas@stroock.com]           RE: 840 Atlantic Ave                    Email         6/27/2018 20:59 Outlook Message File                  agreements
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                                                   Rottenberg,                                                 'Moskowitz, Ross F.'                                                                                                                                                                                        legal advice concerning 840 Atlantic lease
CTRL00056060 Privileged ‐ Withhold Attorney Client Sam             Sam Rottenberg [sam.rottenberg@gmail.com]   [rmoskowitz@stroock.com]                    'Doukas, Ashley E.' [adoukas@stroock.com]           RE: 840 Atlantic Ave                    Email         6/27/2018 19:47 Outlook Message File                  agreements
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                                                   Rottenberg,                                                                                                                                                                                                                                                             legal advice concerning 840 Atlantic lease
CTRL00056068 Privileged ‐ Withhold Attorney Client Sam             Moskowitz, Ross F. [rmoskowitz@stroock.com] Sam Rottenberg [sam.rottenberg@gmail.com] Doukas, Ashley E. [adoukas@stroock.com]               Re: 840 Atlantic Ave                    Email         6/29/2018 21:59 Outlook Message File                  agreements
                                                                                                                                                                                                                                                                                                                           Communication for the purpose of providing
                                                   Rottenberg,                                                                                                                                                                                                                                                             legal advice concerning 840 Atlantic lease
CTRL00056069 Privileged ‐ Withhold Attorney Client Sam             Sam Rottenberg [sam.rottenberg@gmail.com] Moskowitz, Ross F. [rmoskowitz@stroock.com] Doukas, Ashley E. [adoukas@stroock.com]               Re: 840 Atlantic Ave                    Email         6/29/2018 21:50 Outlook Message File                  agreements
                                                                                                             'Sam Rottenberg'                                                                                                                                                                                              Communication for the purpose of providing
                                                   Rottenberg,                                               [sam.rottenberg@gmail.com];Moskowitz, Ross                                                                                                                                                                    legal advice concerning 840 Atlantic lease
CTRL00056074 Privileged ‐ Withhold Attorney Client Sam             Doukas, Ashley E. [adoukas@stroock.com]   F. [rmoskowitz@stroock.com]                                                                       Re: 840 Atlantic Ave                    Email          7/2/2018 14:13 Outlook Message File                  agreements
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                                                   Rottenberg,                                                                                                                                                                                                                                                             legal advice concerning 840 Atlantic lease
CTRL00056075 Privileged ‐ Withhold Attorney Client Sam             Sam Rottenberg [sam.rottenberg@gmail.com] Moskowitz, Ross F. [rmoskowitz@stroock.com] Doukas, Ashley E. [adoukas@stroock.com]               Re: 840 Atlantic Ave                    Email         6/29/2018 22:07 Outlook Message File                  agreements
                                                   Rottenberg,     Stefanie Marazzi                                                                                                                                                                                                                                        Communication for the purpose of providing
CTRL00057455 Privileged ‐ Withhold Attorney Client Sam             [Smarazzi@slaterbeckerman.com]            sam.rottenberg@gmail.com                    Raymond Levin [rlevin@slaterbeckerman.com]            840 Atlantic                            Email         7/27/2018 15:42 Outlook Message File                  legal advice concerning 840 Atlantic rezoning
                                                                                                                                                         Raymond Levin
                                                   Rottenberg,     Stefanie Marazzi                                                                      [rlevin@slaterbeckerman.com];Taisha Pickett                                                                                                                          Communication for the purpose of providing
CTRL00058266 Privileged ‐ Withhold Attorney Client Sam             [Smarazzi@slaterbeckerman.com]            Sam Rottenberg [sam.rottenberg@gmail.com] [tpickett@slaterbeckerman.com]                          Lobbying Question                       Email         8/13/2018 16:18 Outlook Message File                     legal advice concerning 840 Atlantic rezoning




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                                                                                               McDonald's Corporation v. Vanderbilt Atlantic Holdings LLC , Case No. 19‐cv‐06471 (E.D.N.Y.)
                                                                                                                                                          DEFENDANT'S PRIVILEGE LOG
                                                                                                                                                                                                   Email
  Control ID     Privilege Status   Privilege Type    Custodian                   Email From                                   Email To                                      Email CC                                         Email Subject            Record Type Chron Date‐Time               File Description                Narrative Description
                                                                                                                                                                                                    BCC
                                                                                                                                                          Taisha Pickett
                                                   Rottenberg,    Stefanie Marazzi                                                                        [tpickett@slaterbeckerman.com];Tom                                                                                                                        Communication for the purpose of providing
CTRL00058281 Privileged ‐ Withhold Attorney Client Sam            [Smarazzi@slaterbeckerman.com]              Sam Rottenberg [sam.rottenberg@gmail.com]   [tli@sprgp.com]                                  FW: Lobbying Question                       Email         8/13/2018 20:28 Outlook Message File           legal advice concerning 840 Atlantic rezoning
                                                                                                                                                                                                                                                                                                                    Communication for the purpose of providing
                                                    Rottenberg,   Murray Schneier                                                                         Jonathan Eiseman                                                                                                                                          legal advice concerning McDonald’s lease
CTRL00061979 Privileged ‐ Redact    Attorney Client Sam           [MSchneier@EisemanLevine.com]               Sam Rottenberg [sam.rottenberg@gmail.com]   [JEiseman@EisemanLevine.com]                     FW: L/C 031‐2093 Brooklyn, NY               Email          1/3/2019 17:48 Outlook Message File           renewal
                                                    Rottenberg,                                                                                                                                                                                                                                                     Communication for the purpose of providing
CTRL00063060 Privileged ‐ Redact    Attorney Client Sam           Morris Missry [MISSRY@wmllp.com]            Sam Rottenberg [sam.rottenberg@gmail.com]                                                    FW: 840 Atlantic Ave                        Email          2/6/2019 19:20 Outlook Message File           legal advice concerning 840 Atlantic appraisal
                                                                                                                                                                                                                                                                                                                    Communication for the purpose of providing
                                                    Rottenberg,   Murray Schneier                                                                                                                                                                                                                                   legal advice concerning McDonald’s lease
CTRL00063930 Privileged ‐ Redact    Attorney Client Sam           [MSchneier@EisemanLevine.com]               Sam Rottenberg [sam.rottenberg@gmail.com]                                                    FW: L/C 031‐2093 Brooklyn, NY               Email          3/5/2019 15:45 Outlook Message File           renewal
                                                    Rottenberg,                                                                                                                                                                                                                                                     Communication for the purpose of providing
CTRL00065244 Privileged ‐ Redact    Attorney Client Sam           Morris Missry [MISSRY@wmllp.com]            Sam Rottenberg [sam.rottenberg@gmail.com]                                                    Re: 840 Atlantic Avenue ‐ FMR               Email         4/23/2019 16:53 Outlook Message File           legal advice concerning 840 Atlantic appraisal
                                                    Rottenberg,                                                                                                                                                                                                                                                     Communication for the purpose of providing
CTRL00065259 Privileged ‐ Redact    Attorney Client Sam           Morris Missry [MISSRY@wmllp.com]            Sam Rottenberg [sam.rottenberg@gmail.com]                                                    Re: 840 Atlantic Avenue ‐ FMR               Email         4/23/2019 21:23 Outlook Message File           legal advice concerning 840 Atlantic appraisal
                                                                                                                                                                                                                                                                                                                    Communication for the purpose of providing
                                                    Rottenberg,                                                                                                                                                                                                                                                     legal advice concerning McDonald’s lease
CTRL00065929 Privileged ‐ Redact    Attorney Client Sam           Morris Missry [MISSRY@wmllp.com]            Sam Rottenberg [sam.rottenberg@gmail.com]                                                    FW: 840 Atlantic Ave                        Email         5/13/2019 20:17 Outlook Message File           renewal
                                                    Rottenberg,                                                                                                                                                                                                                                                     Communication for the purpose of providing
CTRL00066241 Privileged ‐ Redact    Attorney Client Sam           Morris Missry [MISSRY@wmllp.com]            Sam Rottenberg [sam.rottenberg@gmail.com]                                                    FW: 3rd appraiser ‐ 840 Atlantic Avenue     Email         5/20/2019 20:06 Outlook Message File           legal advice concerning 840 Atlantic appraisal
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                                                    Rottenberg,                                                                                                                                                                                                                                                     legal advice concerning McDonald’s lease
CTRL00066340 Privileged ‐ Redact    Attorney Client Sam           Morris Missry [MISSRY@wmllp.com]            Sam Rottenberg [sam.rottenberg@gmail.com]                                                    Fwd: 840 Atlantic Ave                       Email         5/22/2019 19:10 Outlook Message File           renewal
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                                                    Rottenberg,                                                                                                                                                                                                                                                     legal advice concerning McDonald’s lease
CTRL00066342 Privileged ‐ Redact    Attorney Client Sam           Morris Missry [MISSRY@wmllp.com]            Sam Rottenberg [sam.rottenberg@gmail.com]                                                    Re: 840 Atlantic Ave                        Email         5/22/2019 19:28 Outlook Message File           renewal
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                                                    Rottenberg,                                                                                                                                                                                                                                                     legal advice concerning McDonald’s lease
CTRL00066345 Privileged ‐ Redact    Attorney Client Sam           Morris Missry [MISSRY@wmllp.com]            Sam Rottenberg [sam.rottenberg@gmail.com]                                                    FW: 840 Atlantic Ave                        Email         5/22/2019 19:58 Outlook Message File           renewal
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                                                    Rottenberg,                                                                                                                                                                                                                                                     legal advice concerning McDonald’s lease
CTRL00066417 Privileged ‐ Redact    Attorney Client Sam           Morris Missry [MISSRY@wmllp.com]            Sam Rottenberg [sam.rottenberg@gmail.com]                                                    Re: 840 Atlantic Ave                        Email         5/27/2019 22:30 Outlook Message File           renewal
                                                                                                                                                                                                                                                                                                                    Communication for the purpose of providing
                                                    Rottenberg,                                                                                                                                            Fwd: 840 Atlantic Ave [MCD‐                                                                              legal advice concerning McDonald’s lease
CTRL00066452 Privileged ‐ Redact    Attorney Client Sam           Morris Missry [MISSRY@wmllp.com]            Sam Rottenberg [sam.rottenberg@gmail.com]                                                    LEGAL_USA.FID962110]                        Email         5/29/2019 14:07 Outlook Message File           renewal
                                                                                                                                                                                                                                                                                                                    Communication for the purpose of providing
                                                    Rottenberg,                                                                                                                                            Fwd: 840 Atlantic Ave [MCD‐                                                                              legal advice concerning McDonald’s lease
CTRL00067181 Privileged ‐ Redact    Attorney Client Sam           Morris Missry [MISSRY@wmllp.com]            Sam Rottenberg [sam.rottenberg@gmail.com]                                                    LEGAL_USA.FID962110]                        Email         6/24/2019 21:12 Outlook Message File           renewal
                                                                                                                                                                                                                                                                                                                    Communication for the purpose of providing
                                                    Rottenberg,                                                                                                                                            RE: 840 Atlantic Ave [MCD‐                                                                               legal advice concerning McDonald’s lease
CTRL00067206 Privileged ‐ Redact    Attorney Client Sam           Morris Missry [MISSRY@wmllp.com]            Sam Rottenberg [sam.rottenberg@gmail.com]                                                    LEGAL_USA.FID962110]                        Email         6/25/2019 18:45 Outlook Message File           renewal
                                                                                                                                                                                                                                                                                                                    Communication for the purpose of providing
                                                    Rottenberg,                                                                                                                                            RE: 840 Atlantic Ave [MCD‐                                                                               legal advice concerning McDonald’s lease
CTRL00067253 Privileged ‐ Redact    Attorney Client Sam           Morris Missry [MISSRY@wmllp.com]            Sam Rottenberg [sam.rottenberg@gmail.com]                                                    LEGAL_USA.FID962110]                        Email         6/26/2019 18:09 Outlook Message File           renewal
                                                                                                                                                                                                                                                                                                                    Communication for the purpose of providing
                                                   Rottenberg,                                                                                                                                             Sending: L_C 031‐2093 Brooklyn NY_Letter                                                                 legal advice concerning McDonald’s lease
CTRL00067347 Privileged ‐ Withhold Attorney Client Sam            Morris Missry [MISSRY@wmllp.com]            Sam Rottenberg [sam.rottenberg@gmail.com]                                                    Agreement(1081319.1).doc                    Email          7/1/2019 18:15 Outlook Message File           renewal
                                                                                                                                                                                                                                                                                                                    Communication for the purpose of providing
                                                    Rottenberg,                                                                                                                                            FW: L/C 031‐2093 Brooklyn, NY [MCD‐                                                                      legal advice concerning McDonald’s lease
CTRL00068004 Privileged ‐ Redact    Attorney Client Sam           Morris Missry [MISSRY@wmllp.com]            Sam Rottenberg [sam.rottenberg@gmail.com]                                                    LEGAL_USA.FID962110]                        Email         7/23/2019 19:47 Outlook Message File           renewal
                                                                                                                                                                                                                                                                                                                    Communication for the purpose of providing
                                                    Rottenberg,                                                                                                                                            FW: 840 Atlantic Ave [MCD‐                                                                               legal advice concerning McDonald’s lease
CTRL00068979 Privileged ‐ Redact    Attorney Client Sam           Morris Missry [MISSRY@wmllp.com]            Sam Rottenberg [sam.rottenberg@gmail.com]                                                    LEGAL_USA.FID962110]                        Email         8/29/2019 13:32 Outlook Message File           renewal
                                                                                                                                                                                                                                                                                                                    Communication for the purpose of providing
                                                    Rottenberg,                                                                                                                                            FW: L_C 031‐2093 Brooklyn NY_Letter [MCD‐                                                                legal advice concerning McDonald’s lease
CTRL00068980 Privileged ‐ Redact    Attorney Client Sam           Morris Missry [MISSRY@wmllp.com]            Sam Rottenberg [sam.rottenberg@gmail.com]                                                    LEGAL_USA.FID962110]                        Email         8/29/2019 14:14 Outlook Message File           renewal
                                                                                                                                                                                                                                                                                                                    Communication for the purpose of providing
                                                   Rottenberg,                                                                                                                                             FW: L_C 031‐2093 Brooklyn NY_Letter [MCD‐                                                                legal advice concerning McDonald’s lease
CTRL00069075 Privileged ‐ Redact   Attorney Client Sam            Morris Missry [MISSRY@wmllp.com]            Sam Rottenberg [sam.rottenberg@gmail.com]                                                    LEGAL_USA.FID962110]                        Email          9/3/2019 15:56 Outlook Message File           renewal
                                                   Rottenberg,    Stefanie Marazzi                                                                                                                                                                                                                                  Communication for the purpose of providing
CTRL00069242 Privileged ‐ Withhold Attorney Client Sam            [Smarazzi@slaterbeckerman.com]              Sam Rottenberg [sam.rottenberg@gmail.com]                                                    840 Atlantic                                Email          9/6/2019 20:34 Outlook Message File           legal advice concerning 840 Atlantic rezoning
                                                                                                                                                                                                           Fwd: L_C 031‐2093 Brooklyn NY_Letter                                                                     Communication for the purpose of providing
                                                    Rottenberg,                                                                                                                                            Agreement(1081319.5) (002).doc [MCD‐                                                                     legal advice concerning McDonald’s lease
CTRL00069494 Privileged ‐ Redact    Attorney Client Sam           Morris Missry [MISSRY@wmllp.com]            Sam Rottenberg [sam.rottenberg@gmail.com]                                                    LEGAL_USA.FID962110]                        Email         9/16/2019 21:11 Outlook Message File           renewal
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                                                   Rottenberg,                                                'Jonathan Eiseman'                          'Murray Schneier'                                                                                                                                         legal advice concerning McDonald’s lease
CTRL00072345 Privileged ‐ Withhold Attorney Client Sam            Sam Rottenberg [sam.rottenberg@gmail.com]   [JEiseman@eisemanlevine.com]                [MSchneier@eisemanlevine.com]                    RE: 840 Atlantic                            Email          8/8/2017 20:22 Outlook Message File           renewal
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                                                   Rottenberg,                                                'Murray Schneier'                                                                                                                                                                                     legal advice concerning McDonald’s lease
CTRL00073636 Privileged ‐ Withhold Attorney Client Sam            Sam Rottenberg [sam.rottenberg@gmail.com]   [MSchneier@EisemanLevine.com]                                                                RE: Atlantic Avenue                         Email          5/8/2018 16:36 Outlook Message File           renewal
                                                                                                                                                          'Jonathan Eiseman'                                                                                                                                        Communication for the purpose of providing
                                                   Rottenberg,                                                'Murray Schneier'                           [JEiseman@EisemanLevine.com];Dov Feder                                                                                                                    legal advice concerning McDonald’s lease
CTRL00073663 Privileged ‐ Withhold Attorney Client Sam            Sam Rottenberg [sam.rottenberg@gmail.com]   [MSchneier@EisemanLevine.com]               [dfeder@sprgp.com]                               RE: McDonald's                              Email         5/10/2018 19:15 Outlook Message File           renewal
                                                                                                                                                                                                                                                                                                                    Communication for the purpose of providing
                                                   Rottenberg,                                                                                                                                                                                                                                                      legal advice concerning 840 Atlantic lease
CTRL00078381 Privileged ‐ Withhold Attorney Client Sam            Sam Rottenberg [sam.rottenberg@gmail.com] 'Morris Missry' [MISSRY@wmllp.com]            'Tom Li' [tli@sprgp.com]                         840 Atlantic Ave McDonalds call             Email          2/14/2019 0:48 Outlook Message File           agreements
                                                   Rottenberg,                                                                                                                                                                                                                                                      Communication for the purpose of providing
CTRL00079918 Privileged ‐ Redact   Attorney Client Sam            Sam Rottenberg [sam.rottenberg@gmail.com] Morris Missry [MISSRY@wmllp.com]                                                               Re: FW: 840 Atlantic Avenue ‐ FMR           Email         4/23/2019 16:49 Outlook Message File           legal advice concerning 840 Atlantic appraisal
                                                   Rottenberg,                                                                                                                                                                                                                                                      Communication for the purpose of providing
CTRL00079925 Privileged ‐ Redact   Attorney Client Sam            Sam Rottenberg [sam.rottenberg@gmail.com] Morris Missry [MISSRY@wmllp.com]                                                               Re: 840 Atlantic Avenue ‐ FMR               Email         4/23/2019 21:09 Outlook Message File           legal advice concerning 840 Atlantic appraisal
                                                                                                                                                                                                                                                                                                                    Communication for the purpose of providing
                                                    Rottenberg,                                                                                                                                                                                                                                                     legal advice concerning McDonald’s lease
CTRL00080705 Privileged ‐ Redact    Attorney Client Sam           Sam Rottenberg [sam.rottenberg@gmail.com] Morris Missry [MISSRY@wmllp.com]                                                               Re: 840 Atlantic Ave                        Email         5/22/2019 19:18 Outlook Message File           renewal




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                                                                                                McDonald's Corporation v. Vanderbilt Atlantic Holdings LLC , Case No. 19‐cv‐06471 (E.D.N.Y.)
                                                                                                                                                          DEFENDANT'S PRIVILEGE LOG
                                                                                                                                                                                                      Email
  Control ID     Privilege Status   Privilege Type    Custodian                    Email From                                   Email To                                     Email CC                                            Email Subject            Record Type Chron Date‐Time                File Description                        Narrative Description
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                                                    Rottenberg,                                                                                                                                                                                                                                                               legal advice concerning McDonald’s lease
CTRL00080706 Privileged ‐ Redact    Attorney Client Sam           Sam Rottenberg [sam.rottenberg@gmail.com] Morris Missry [MISSRY@wmllp.com]                                                                  Re: 840 Atlantic Ave                        Email         5/22/2019 19:54 Outlook Message File                  renewal
                                                                                                                                                                                                                                                                                                                              Communication for the purpose of providing
                                                    Rottenberg,                                                                                                                                                                                                                                                               legal advice concerning McDonald’s lease
CTRL00080796 Privileged ‐ Redact    Attorney Client Sam           Sam Rottenberg [sam.rottenberg@gmail.com] 'Morris Missry' [MISSRY@wmllp.com]                                                                RE: 840 Atlantic Ave                        Email         5/27/2019 18:26 Outlook Message File                  renewal
                                                                                                                                                                                                                                                                                                                              Communication for the purpose of providing
                                                    Rottenberg,                                                                                                                                               Re: 840 Atlantic Ave [MCD‐                                                                                      legal advice concerning McDonald’s lease
CTRL00080822 Privileged ‐ Redact    Attorney Client Sam           Sam Rottenberg [sam.rottenberg@gmail.com] Morris Missry [MISSRY@wmllp.com]                                                                  LEGAL_USA.FID962110]                        Email         5/29/2019 16:41 Outlook Message File                  renewal
                                                                                                                                                                                                                                                                                                                              Communication for the purpose of providing
                                                    Rottenberg,                                                                                                                                               RE: 840 Atlantic Ave [MCD‐                                                                                      legal advice concerning McDonald’s lease
CTRL00081219 Privileged ‐ Redact    Attorney Client Sam           Sam Rottenberg [sam.rottenberg@gmail.com] 'Morris Missry' [MISSRY@wmllp.com]                                                                LEGAL_USA.FID962110]                        Email         6/25/2019 18:17 Outlook Message File                  renewal
                                                                                                                                                                                                                                                                                                                              Communication for the purpose of providing
                                                    Rottenberg,                                                                                                                                               Re: 840 Atlantic Ave [MCD‐                                                                                      legal advice concerning McDonald’s lease
CTRL00081270 Privileged ‐ Redact    Attorney Client Sam           Sam Rottenberg [sam.rottenberg@gmail.com] Morris Missry [MISSRY@wmllp.com]                                                                  LEGAL_USA.FID962110]                        Email         6/26/2019 16:56 Outlook Message File                  renewal
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                                                    Rottenberg,                                                                                                                                                                                                                                                               legal advice concerning McDonald’s lease
CTRL00082184 Privileged ‐ Redact    Attorney Client Sam           Sam Rottenberg [sam.rottenberg@gmail.com] Morris Missry [MISSRY@wmllp.com]                                                                  Re: 840 Atlantic                            Email          8/28/2019 1:05 Outlook Message File                  renewal
                                                                                                                                                                                                                                                                                                                              Communication for the purpose of providing
                                                   Rottenberg,                                                Karnovsky, David                                                                                                                                                                                                legal advice concerning 840 Atlantic lease
CTRL00082449 Privileged ‐ Withhold Attorney Client Sam            Sam Rottenberg [sam.rottenberg@gmail.com]   [David.Karnovsky@friedfrank.com]                                                                Fwd: 840 Atlantic Ave ‐ McDonald's Lease    Email         9/11/2019 18:21 Outlook Message File                  agreements
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                                                   Rottenberg,                                                                                                                                                                                                                                                                legal advice concerning 840 Atlantic lease
CTRL00087827 Privileged ‐ Withhold Attorney Client Sam            Moskowitz, Ross F. [rmoskowitz@stroock.com] 'Sam Rottenberg' [sam.rottenberg@gmail.com] Doukas, Ashley E. [adoukas@stroock.com]             Re: 840 Atlantic Ave                        Email         6/29/2018 21:23 Outlook Message File                  agreements
                                                                                                                                                                                                                                                                                                                              Communication for the purpose of providing
                                                   Rottenberg,                                                                                                                                                                                                                                                                legal advice concerning 840 Atlantic lease
CTRL00087828 Privileged ‐ Withhold Attorney Client Sam            Moskowitz, Ross F. [rmoskowitz@stroock.com] Sam Rottenberg [sam.rottenberg@gmail.com] Doukas, Ashley E. [adoukas@stroock.com]               Re: 840 Atlantic Ave                        Email         6/29/2018 21:59 Outlook Message File                  agreements
                                                                                                              'Sam Rottenberg'                                                                                                                                                                                                Communication for the purpose of providing
                                                   Rottenberg,                                                [sam.rottenberg@gmail.com];Moskowitz, Ross                                                                                                                                                                      legal advice concerning 840 Atlantic lease
CTRL00087829 Privileged ‐ Withhold Attorney Client Sam            Doukas, Ashley E. [adoukas@stroock.com]     F. [rmoskowitz@stroock.com]                                                                     Re: 840 Atlantic Ave                        Email          7/2/2018 14:13 Outlook Message File                  agreements
                                                                                                                                                                                                                                                                                                                              Communication for the purpose of providing
                                                   Rottenberg,                                                                                                                                                                                                                                                                legal advice concerning 840 Atlantic lease
CTRL00087883 Privileged ‐ Withhold Attorney Client Sam            Doukas, Ashley E. [adoukas@stroock.com]     'Sam Rottenberg' [sam.rottenberg@gmail.com]                                                     Re: 840 Atlantic Ave                         Email        7/11/2018 21:43 Outlook Message File                  agreements
                                                   Rottenberg,    Stefanie Marazzi                                                                          Tom [tli@sprgp.com];Raymond Levin                 FW: REVISED 840 Atlantic Avenue PAS (Project                                                                    Communication for the purpose of providing
CTRL00088653 Privileged ‐ Redact   Attorney Client Sam            [Smarazzi@slaterbeckerman.com]              Sam Rottenberg [sam.rottenberg@gmail.com]     [rlevin@slaterbeckerman.com]                      ID No. 2018K0488)                            Email       10/24/2018 15:43 Outlook Message File                  legal advice concerning 840 Atlantic rezoning
                                                                                                                                                                                                                                                                                                                              Communication for the purpose of providing
                                                   Rottenberg,    Jonathan Eiseman                                                                                                                                                                                                                                            legal advice concerning 840 Atlantic lease
CTRL00103319 Privileged ‐ Withhold Attorney Client Sam            [JEiseman@eisemanlevine.com]                Sam Rottenberg [sam.rottenberg@gmail.com]                                                       RE: 840 Atlantic Avenue, Brooklyn           Email         6/15/2017 16:07 Outlook Message File                  agreements
                                                                                                                                                                                                                                                                                                                              Communication for the purpose of providing
                                                   Rottenberg,                                                'Jonathan Eiseman'                                                                                                                                                                                              legal advice concerning 840 Atlantic lease
CTRL00103320 Privileged ‐ Withhold Attorney Client Sam            Sam Rottenberg [sam.rottenberg@gmail.com]   [JEiseman@eisemanlevine.com]                                                                    840 Atlantic Avenue, Brooklyn               Email         6/15/2017 15:44 Outlook Message File                  agreements
                                                   Rottenberg,                                                                                                                                                                                                                                                                Draft regarding and reflecting legal advice
CTRL00104854 Privileged ‐ Withhold Work Product Sam                                                                                                                                                                                                       Attach        7/31/2017 14:46 Microsoft Word 97 ‐ 2003 Document     concerning 840 Atlantic lease agreements
                                                   Rottenberg,                                                                                                                                                                                                                                                                Draft regarding and reflecting legal advice
CTRL00104983 Privileged ‐ Withhold Work Product Sam                                                                                                                                                                                                       Attach         8/3/2017 20:31 Microsoft Word 97 ‐ 2003 Document     concerning 840 Atlantic lease agreements
                                                                                                                                                                                                                                                                                                                              Communication for the purpose of providing
                                                   Rottenberg,    Murray Schneier                                                                           simon@rabskygroup.com;Jonathan Eiseman                                                                                                                            legal advice concerning 840 Atlantic lease
CTRL00108311 Privileged ‐ Withhold Attorney Client Sam            [MSchneier@EisemanLevine.com]               Sam Rottenberg [sam.rottenberg@gmail.com]     [JEiseman@EisemanLevine.com]                      840 Atlantic Avenue                         Email         11/2/2017 20:25 Outlook Message File                  agreements
                                                   Rottenberg,                                                                                                                                                                                                                                                                Draft regarding and reflecting legal advice
CTRL00108312 Privileged ‐ Withhold Work Product Sam                                                                                                                                                                                                       Attach        11/2/2017 20:25 Microsoft Office Word Open XML Format concerning 840 Atlantic lease agreements
                                                   Rottenberg,                                                                                                                                                                                                                                                                Draft regarding and reflecting legal advice
CTRL00108313 Privileged ‐ Withhold Work Product Sam                                                                                                                                                                                                       Attach        11/2/2017 20:25 Adobe Portable Document Format        concerning 840 Atlantic lease agreements
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                                                   Rottenberg,                                                                                                                                                                                                                                                                legal advice concerning 840 Atlantic lease
CTRL00108417 Privileged ‐ Withhold Attorney Client Sam            Selver, Paul [PSelver@KRAMERLEVIN.com]      Sam Rottenberg [sam.rottenberg@gmail.com]                                                       RE: [EXTERNAL] FW: Atlantic Ave lease       Email         11/6/2017 14:00 Outlook Message File                  agreements
                                                                                                                                                                                                                                                                                                                              Communication for the purpose of providing
                                                   Rottenberg,                                                                                                                                                                                                                                                                legal advice concerning 840 Atlantic lease
CTRL00108418 Privileged ‐ Withhold Attorney Client Sam            Sam Rottenberg [sam.rottenberg@gmail.com] Selver, Paul [PSelver@KRAMERLEVIN.com]                                                            FW: Atlantic Ave lease                      Email         11/2/2017 16:09 Outlook Message File                  agreements
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                                                   Rottenberg,                                                'Bernstein, Zachary'                                                                                                                                                                                            legal advice concerning 840 Atlantic lease
CTRL00108419 Privileged ‐ Withhold Attorney Client Sam            Sam Rottenberg [sam.rottenberg@gmail.com]   [Zachary.Bernstein@friedfrank.com]                                                              FW: Atlantic Ave lease                      Email         11/2/2017 15:29 Outlook Message File                  agreements
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                                                   Rottenberg,    Bernstein, Zachary                                                                                                                                                                                                                                          legal advice concerning 840 Atlantic lease
CTRL00108429 Privileged ‐ Withhold Attorney Client Sam            [Zachary.Bernstein@friedfrank.com]          Sam Rottenberg [sam.rottenberg@gmail.com] Kozin, Jeremy [Jeremy.Kozin@friedfrank.com]           FW: 840 Atlantic Avenue ‐ Revised           Email         11/6/2017 15:05 Outlook Message File                  agreements
                                                   Rottenberg,                                                                                                                                                                                                                                                                Attachment regarding and reflecting legal
CTRL00108430 Privileged ‐ Withhold Work Product Sam                                                                                                                                                                                                       Attach        11/6/2017 15:05 Adobe Portable Document Format        advice concerning 840 Atlantic lease
                                                   Rottenberg,                                                                                                                                                                                                                                                                Attachment regarding and reflecting legal
CTRL00108431 Privileged ‐ Withhold Work Product Sam                                                                                                                                                                                                       Attach        11/6/2017 15:05 Microsoft Office Word Open XML Format advice concerning 840 Atlantic lease
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                                                   Rottenberg,    Murray Schneier                                                                                                                                                                                                                                             legal advice concerning McDonald’s lease
CTRL00108864 Privileged ‐ Withhold Attorney Client Sam            [MSchneier@EisemanLevine.com]               Sam Rottenberg [sam.rottenberg@gmail.com]                                                       840 Atlantic Avenue                         Email        11/13/2017 15:42 Outlook Message File                  renewal
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                                                   Rottenberg,    Murray Schneier                                                                                                                                                                                                                                             legal advice concerning McDonald’s lease
CTRL00108938 Privileged ‐ Withhold Attorney Client Sam            [MSchneier@EisemanLevine.com]               Sam Rottenberg [sam.rottenberg@gmail.com]                                                       RE: 840 Atlantic Avenue                     Email        11/14/2017 15:53 Outlook Message File                  renewal
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                                                   Rottenberg,                                                'Murray Schneier'                                                                                                                                                                                               legal advice concerning McDonald’s lease
CTRL00108939 Privileged ‐ Withhold Attorney Client Sam            Sam Rottenberg [sam.rottenberg@gmail.com]   [MSchneier@EisemanLevine.com]                                                                   RE: 840 Atlantic Avenue                     Email        11/13/2017 19:13 Outlook Message File                  renewal
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                                                   Rottenberg,    Murray Schneier                                                                                                                                                                                                                                             legal advice concerning McDonald’s lease
CTRL00117410 Privileged ‐ Withhold Attorney Client Sam            [MSchneier@EisemanLevine.com]               Sam Rottenberg [sam.rottenberg@gmail.com]                                                       Atlantic Avenue                             Email          5/8/2018 14:35 Outlook Message File                  renewal
                                                                                                                                                                                                                                                                                                                              Communication for the purpose of providing
                                                   Rottenberg,    Murray Schneier                                                                                                                                                                                                                                             legal advice concerning McDonald’s lease
CTRL00117430 Privileged ‐ Withhold Attorney Client Sam            [MSchneier@EisemanLevine.com]               Sam Rottenberg [sam.rottenberg@gmail.com]                                                       RE: Atlantic Avenue                         Email          5/8/2018 16:28 Outlook Message File                  renewal




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                                                                                               McDonald's Corporation v. Vanderbilt Atlantic Holdings LLC , Case No. 19‐cv‐06471 (E.D.N.Y.)
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  Control ID     Privilege Status   Privilege Type    Custodian                   Email From                                    Email To                                      Email CC                                             Email Subject                Record Type Chron Date‐Time               File Description                         Narrative Description
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                                                   Rottenberg,                                                Murray Schneier                                                                                                                                                                                                       legal advice concerning McDonald’s lease
CTRL00117431 Privileged ‐ Withhold Attorney Client Sam            Sam Rottenberg [sam.rottenberg@gmail.com]   [MSchneier@eisemanlevine.com]                                                                     Re: Atlantic Avenue                             Email          5/8/2018 16:16 Outlook Message File                  renewal
                                                                                                                                                                                                                                                                                                                                    Communication for the purpose of providing
                                                   Rottenberg,    Murray Schneier                                                                           Jonathan Eiseman                                                                                                                                                        legal advice concerning McDonald’s lease
CTRL00117531 Privileged ‐ Withhold Attorney Client Sam            [MSchneier@EisemanLevine.com]               Sam Rottenberg [sam.rottenberg@gmail.com]     [JEiseman@EisemanLevine.com]                        McDonald's                                      Email          5/9/2018 19:37 Outlook Message File                  renewal
                                                   Rottenberg,                                                                                                                                                                                                                                                                      Draft regarding and reflecting legal advice
CTRL00117532 Privileged ‐ Withhold Work Product Sam                                                                                                                                                                                                             Attach         5/9/2018 19:37 Microsoft Office Word Open XML Format concerning McDonald’s lease renewal
                                                                                                                                                                                                                                                                                                                                    Communication for the purpose of providing
                                                    Rottenberg,   Murray Schneier                                                                           Jonathan Eiseman                                                                                                                                                        legal advice concerning McDonald’s lease
CTRL00119117 Privileged ‐ Redact    Attorney Client Sam           [MSchneier@EisemanLevine.com]               Sam Rottenberg [sam.rottenberg@gmail.com]     [JEiseman@EisemanLevine.com]                        RE: Atlantic Avenue, Brooklyn, New York         Email          6/7/2018 14:37 Outlook Message File                  renewal
                                                                                                                                                                                                                                                                                                                                    Communication for the purpose of providing
                                                    Rottenberg,                                               'Murray Schneier'                             'Jonathan Eiseman'                                                                                                                                                      legal advice concerning McDonald’s lease
CTRL00119118 Privileged ‐ Redact    Attorney Client Sam           Sam Rottenberg [sam.rottenberg@gmail.com]   [MSchneier@EisemanLevine.com]                 [JEiseman@EisemanLevine.com]                        RE: Atlantic Avenue, Brooklyn, New York         Email          6/6/2018 23:53 Outlook Message File                  renewal
                                                                                                                                                                                                                                                                                                                                    Communication for the purpose of providing
                                                    Rottenberg,   Murray Schneier                                                                           Jonathan Eiseman                                                                                                                                                        legal advice concerning McDonald’s lease
CTRL00119121 Privileged ‐ Redact    Attorney Client Sam           [MSchneier@EisemanLevine.com]               Sam Rottenberg [sam.rottenberg@gmail.com]     [JEiseman@EisemanLevine.com]                        RE: Atlantic Avenue, Brooklyn, New York         Email          6/7/2018 14:42 Outlook Message File                  renewal
                                                                                                                                                                                                                                                                                                                                    Communication for the purpose of providing
                                                   Rottenberg,                                                'sam.rottenberg@gmail.com'                                                                                                                                                                                            legal advice concerning 840 Atlantic lease
CTRL00120047 Privileged ‐ Withhold Attorney Client Sam            Moskowitz, Ross F. [rmoskowitz@stroock.com] [sam.rottenberg@gmail.com]                    Doukas, Ashley E. [adoukas@stroock.com]             FW: 840 Atlantic Ave                            Email         6/25/2018 17:43 Outlook Message File                  agreements
                                                                                                                                                                                                                                                                                                                                    Communication for the purpose of providing
                                                   Rottenberg,                                                                                                                                                                                                                                                                      legal advice concerning 840 Atlantic lease
CTRL00120390 Privileged ‐ Withhold Attorney Client Sam            Moskowitz, Ross F. [rmoskowitz@stroock.com] 'Sam Rottenberg' [sam.rottenberg@gmail.com] Doukas, Ashley E. [adoukas@stroock.com]               Re: 840 Atlantic Ave                            Email         6/29/2018 21:23 Outlook Message File                  agreements
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                                                   Rottenberg,                                                'Moskowitz, Ross F.'                                                                                                                                                                                                  legal advice concerning 840 Atlantic lease
CTRL00120391 Privileged ‐ Withhold Attorney Client Sam            Sam Rottenberg [sam.rottenberg@gmail.com]   [rmoskowitz@stroock.com]                      'Doukas, Ashley E.' [adoukas@stroock.com]           RE: 840 Atlantic Ave                            Email         6/27/2018 20:59 Outlook Message File                  agreements
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                                                   Rottenberg,                                                'Moskowitz, Ross F.'                                                                                                                                                                                                  legal advice concerning 840 Atlantic lease
CTRL00120392 Privileged ‐ Withhold Attorney Client Sam            Sam Rottenberg [sam.rottenberg@gmail.com]   [rmoskowitz@stroock.com]                      'Doukas, Ashley E.' [adoukas@stroock.com]           RE: 840 Atlantic Ave                            Email         6/27/2018 19:47 Outlook Message File                  agreements
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                                                   Rottenberg,                                                                                                                                                                                                                                                                      legal advice concerning 840 Atlantic lease
CTRL00120397 Privileged ‐ Withhold Attorney Client Sam            Moskowitz, Ross F. [rmoskowitz@stroock.com] Sam Rottenberg [sam.rottenberg@gmail.com] Doukas, Ashley E. [adoukas@stroock.com]                 Re: 840 Atlantic Ave                            Email         6/29/2018 22:00 Outlook Message File                  agreements
                                                                                                              'Sam Rottenberg'                                                                                                                                                                                                      Communication for the purpose of providing
                                                   Rottenberg,                                                [sam.rottenberg@gmail.com];Moskowitz, Ross                                                                                                                                                                            legal advice concerning 840 Atlantic lease
CTRL00120402 Privileged ‐ Withhold Attorney Client Sam            Doukas, Ashley E. [adoukas@stroock.com]     F. [rmoskowitz@stroock.com]                                                                       Re: 840 Atlantic Ave                            Email          7/2/2018 14:13 Outlook Message File                  agreements
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                                                   Rottenberg,                                                                                                                                                                                                                                                                      legal advice concerning 840 Atlantic lease
CTRL00120822 Privileged ‐ Withhold Attorney Client Sam            Doukas, Ashley E. [adoukas@stroock.com]     'Sam Rottenberg' [sam.rottenberg@gmail.com]                                                       Re: 840 Atlantic Ave                            Email         7/11/2018 21:43 Outlook Message File                  agreements
                                                   Rottenberg,    Stefanie Marazzi                                                                                                                                                                                                                                                  Communication for the purpose of providing
CTRL00121934 Privileged ‐ Withhold Attorney Client Sam            [Smarazzi@slaterbeckerman.com]              sam.rottenberg@gmail.com                    Raymond Levin [rlevin@slaterbeckerman.com]            840 Atlantic                                    Email         7/27/2018 15:42 Outlook Message File                  legal advice concerning 840 Atlantic rezoning
                                                                                                              Sam Rottenberg
                                                   Rottenberg,                                                [sam.rottenberg@gmail.com];Stefanie Marazzi                                                                                                                                                                             Communication for the purpose of providing
CTRL00121943 Privileged ‐ Withhold Attorney Client Sam            Tom [tli@sprgp.com]                         [Smarazzi@slaterbeckerman.com]              Raymond Levin [rlevin@slaterbeckerman.com]            Re: 840 Atlantic                                Email         7/27/2018 16:34 Outlook Message File                    legal advice concerning 840 Atlantic rezoning
                                                                                                              Sam Rottenberg
                                                   Rottenberg,                                                [sam.rottenberg@gmail.com];Stefanie Marazzi                                                                                                                                                                             Communication for the purpose of providing
CTRL00121944 Privileged ‐ Withhold Attorney Client Sam            Tom [tli@sprgp.com]                         [Smarazzi@slaterbeckerman.com]              Raymond Levin [rlevin@slaterbeckerman.com]            Re: 840 Atlantic                                Email         7/27/2018 16:42 Outlook Message File                    legal advice concerning 840 Atlantic rezoning
                                                                                                                                                          Raymond Levin
                                                   Rottenberg,    Stefanie Marazzi                                                                        [rlevin@slaterbeckerman.com];Sam Rottenberg                                                                                                                                 Communication for the purpose of providing
CTRL00121945 Privileged ‐ Withhold Attorney Client Sam            [Smarazzi@slaterbeckerman.com]              Tom [tli@sprgp.com]                         [sam.rottenberg@gmail.com]                            RE: 840 Atlantic                                Email         7/27/2018 16:47 Outlook Message File                    legal advice concerning 840 Atlantic rezoning
                                                                                                                                                          Raymond Levin                                                                                                                                                               Communication for the purpose of providing
                                                   Rottenberg,    Stefanie Marazzi                                                                        [rlevin@slaterbeckerman.com];Tom                                                                                                                                            legal advice concerning Slater & Beckerman
CTRL00121954 Privileged ‐ Withhold Attorney Client Sam            [Smarazzi@slaterbeckerman.com]              Sam Rottenberg [sam.rottenberg@gmail.com] [tli@sprgp.com]                                         840 Atlantic ‐ Lobbying Registration Required   Email         7/27/2018 17:46 Outlook Message File                    lobbying agreement
                                                                                                                                                          Raymond Levin                                                                                                                                                               Communication for the purpose of providing
                                                   Rottenberg,    Stefanie Marazzi                                                                        [rlevin@slaterbeckerman.com];Tom                                                                                                                                            legal advice concerning Slater & Beckerman
CTRL00121956 Privileged ‐ Withhold Attorney Client Sam            [Smarazzi@slaterbeckerman.com]              Sam Rottenberg [sam.rottenberg@gmail.com] [tli@sprgp.com]                                         RE: 840 Atlantic ‐ Retainer                     Email         7/27/2018 18:03 Outlook Message File                    lobbying agreement
                                                                                                                                                          Raymond Levin
                                                   Rottenberg,    Stefanie Marazzi                                                                        [rlevin@slaterbeckerman.com];Tom                      RE: 840 Atlantic ‐ Lobbying Registration                                                                              Communication for the purpose of providing
CTRL00122539 Privileged ‐ Withhold Attorney Client Sam            [Smarazzi@slaterbeckerman.com]              Sam Rottenberg [sam.rottenberg@gmail.com] [tli@sprgp.com]                                         Required                                        Email          8/7/2018 14:53 Outlook Message File                    legal advice concerning 840 Atlantic rezoning
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                                                   Rottenberg,                                                                                                                                                                                                                                                                        legal advice concerning 840 Atlantic lease
CTRL00128728 Privileged ‐ Withhold Attorney Client Sam            Tom [tli@sprgp.com]                         'Sam Rottenberg' [sam.rottenberg@gmail.com]                                                       840 Atlantic draft email to KL                  Email         1/10/2019 18:38 Outlook Message File                    agreements
                                                                                                                                                                                                                                                                                                                                      Communication for the purpose of providing
                                                   Rottenberg,                                                                                                                                                                                                                                                                        legal advice concerning 840 Atlantic lease
CTRL00128737 Privileged ‐ Withhold Attorney Client Sam            Tom [tli@sprgp.com]                         trokeach@kramerlevin.com                      Sam Rottenberg [sam.rottenberg@gmail.com]           RE: New matter/client B'klyn                    Email         1/10/2019 19:21 Outlook Message File                    agreements
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                                                   Rottenberg,                                                                                                                                                                                                                                                                        legal advice concerning 840 Atlantic lease
CTRL00128786 Privileged ‐ Withhold Attorney Client Sam            Rokeach, Tzvi [TRokeach@KRAMERLEVIN.com] Tom [tli@sprgp.com]                              Sam Rottenberg [sam.rottenberg@gmail.com]           Re: [EXTERNAL] RE: New matter/client B'klyn     Email         1/10/2019 22:44 Outlook Message File                    agreements
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                                                   Rottenberg,                                                                                                                                                                                                                                                                        legal advice concerning 840 Atlantic lease
CTRL00128811 Privileged ‐ Withhold Attorney Client Sam            Rokeach, Tzvi [TRokeach@KRAMERLEVIN.com] Tom [tli@sprgp.com]                              Sam Rottenberg [sam.rottenberg@gmail.com]           Re: [EXTERNAL] RE: New matter/client B'klyn     Email         1/11/2019 15:12 Outlook Message File                    agreements
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                                                   Rottenberg,                                                                                                                                                                                                                                                                        legal advice concerning 840 Atlantic lease
CTRL00128813 Privileged ‐ Withhold Attorney Client Sam            Rokeach, Tzvi [TRokeach@KRAMERLEVIN.com] Sam Rottenberg [sam.rottenberg@gmail.com] Tom Li [tli@sprgp.com]                                     Re: [EXTERNAL] RE: New matter/client B'klyn     Email         1/11/2019 15:33 Outlook Message File                    agreements
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                                                   Rottenberg,                                                                                                                                                                                                                                                                        legal advice concerning 840 Atlantic lease
CTRL00128900 Privileged ‐ Withhold Attorney Client Sam            Rokeach, Tzvi [TRokeach@KRAMERLEVIN.com] Sam Rottenberg [sam.rottenberg@gmail.com] 'Tom Li' [tli@sprgp.com]                                   RE: [EXTERNAL] RE: New matter/client B'klyn     Email         1/14/2019 19:52 Outlook Message File                    agreements
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                                                   Rottenberg,                                                                                                                                                                                                                                                                        legal advice concerning 840 Atlantic lease
CTRL00128920 Privileged ‐ Withhold Attorney Client Sam            Rokeach, Tzvi [TRokeach@KRAMERLEVIN.com] Sam Rottenberg [sam.rottenberg@gmail.com] 'Tom Li' [tli@sprgp.com]                                   RE: [EXTERNAL] RE: New matter/client B'klyn     Email         1/14/2019 21:25 Outlook Message File                    agreements
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                                                   Rottenberg,                                                                                                                                                                                                                                                                        legal advice concerning 840 Atlantic lease
CTRL00128985 Privileged ‐ Withhold Attorney Client Sam            Tom [tli@sprgp.com]                         trokeach@kramerlevin.com                      Sam Rottenberg [sam.rottenberg@gmail.com]           RE: New matter/client B'klyn                    Email         1/15/2019 17:59 Outlook Message File                    agreements




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                                                                                                McDonald's Corporation v. Vanderbilt Atlantic Holdings LLC , Case No. 19‐cv‐06471 (E.D.N.Y.)
                                                                                                                                                          DEFENDANT'S PRIVILEGE LOG
                                                                                                                                                                                                      Email
  Control ID     Privilege Status    Privilege Type    Custodian                   Email From                                   Email To                                   Email CC                                              Email Subject              Record Type Chron Date‐Time                File Description                        Narrative Description
                                                                                                                                                                                                       BCC
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                                                   Rottenberg,                                                                                                                                                                                                                                                                  legal advice concerning 840 Atlantic lease
CTRL00128996 Privileged ‐ Withhold Attorney Client Sam             Rokeach, Tzvi [TRokeach@KRAMERLEVIN.com] Tom [tli@sprgp.com]                           Sam Rottenberg [sam.rottenberg@gmail.com]           RE: New matter/client B'klyn                  Email         1/15/2019 18:45 Outlook Message File                  agreements
                                                                                                                                                                                                                                                                                                                                Communication for the purpose of providing
                                                   Rottenberg,                                                                                                                                                                                                                                                                  legal advice concerning 840 Atlantic lease
CTRL00128998 Privileged ‐ Withhold Attorney Client Sam             Tom [tli@sprgp.com]                      Rokeach, Tzvi [TRokeach@KRAMERLEVIN.com] Sam Rottenberg [sam.rottenberg@gmail.com]                RE: New matter/client B'klyn                  Email         1/15/2019 18:58 Outlook Message File                  agreements
                                                                                                            Sam Rottenberg                                                                                                                                                                                                      Communication for the purpose of providing
                                                   Rottenberg,                                              [sam.rottenberg@gmail.com];'Tom'                                                                                                                                                                                    legal advice concerning 840 Atlantic lease
CTRL00129096 Privileged ‐ Withhold Attorney Client Sam             Rokeach, Tzvi [TRokeach@KRAMERLEVIN.com] [tli@sprgp.com]                                                                                   RE: [EXTERNAL] RE: New matter/client B'klyn   Email         1/16/2019 19:55 Outlook Message File                  agreements
                                                                                                            Sam Rottenberg                                                                                                                                                                                                      Communication for the purpose of providing
                                                   Rottenberg,                                              [sam.rottenberg@gmail.com];'Tom'                                                                                                                                                                                    legal advice concerning 840 Atlantic lease
CTRL00129115 Privileged ‐ Withhold Attorney Client Sam             Rokeach, Tzvi [TRokeach@KRAMERLEVIN.com] [tli@sprgp.com]                                                                                   RE: [EXTERNAL] RE: New matter/client B'klyn   Email         1/16/2019 21:21 Outlook Message File                  agreements
                                                   Rottenberg,                                                                                                                                                                                                                                                                  Attachment regarding and reflecting legal
CTRL00129117 Privileged ‐ Withhold Work Product Sam                                                                                                                                                                                                         Attach        1/16/2019 21:21 Adobe Portable Document Format        advice concerning 840 Atlantic lease
                                                                                                            Sam Rottenberg                                                                                                                                                                                                      Communication for the purpose of providing
                                                   Rottenberg,                                              [sam.rottenberg@gmail.com];Tom                                                                                                                                                                                      legal advice concerning McDonald’s lease
CTRL00129332 Privileged ‐ Withhold Attorney Client Sam             Rokeach, Tzvi [TRokeach@KRAMERLEVIN.com] [tli@sprgp.com]                                                                                   Letter to McDonald's                          Email          1/18/2019 6:18 Outlook Message File                  renewal
                                                   Rottenberg,                                                                                                                                                                                                                                                                  Draft regarding and reflecting legal advice
CTRL00129333 Privileged ‐ Withhold Work Product Sam                                                                                                                                                                                                         Attach         1/18/2019 6:18 Microsoft Office Word Open XML Format concerning McDonald’s lease renewal
                                                                                                                                                                                                                                                                                                                                Communication for the purpose of providing
                                                   Rottenberg,                                                                                                                                                                                                                                                                  legal advice concerning 840 Atlantic lease
CTRL00129469 Privileged ‐ Withhold Attorney Client Sam             Tom [tli@sprgp.com]                        missry@wmllp.com                            Sam Rottenberg [sam.rottenberg@gmail.com]           840 Atlantic Ave                              Email         1/22/2019 15:14 Outlook Message File                  agreements
                                                                                                                                                                                                                                                                                                                                Communication for the purpose of providing
                                                     Rottenberg,                                                                                                                                                                                                                                                                legal advice concerning 840 Atlantic lease
CTRL00129470 Privileged ‐ Withhold   Attorney Client Sam           Morris Missry [MISSRY@wmllp.com]           Tom [tli@sprgp.com]                         Sam Rottenberg [sam.rottenberg@gmail.com]           Re: 840 Atlantic Ave                          Email         1/22/2019 15:23 Outlook Message File                  agreements
                                                     Rottenberg,                                                                                                                                                                                                                                                                Communication for the purpose of providing
CTRL00129653 Privileged ‐ Withhold   Attorney Client Sam           Morris Missry [MISSRY@wmllp.com]           Sam Rottenberg [sam.rottenberg@gmail.com] Tom Li [tli@sprgp.com]                                Re: 840 Atlantic Ave                          Email         1/24/2019 14:05 Outlook Message File                  legal advice concerning 840 Atlantic appraisal
                                                     Rottenberg,                                                                                                                                                                                                                                                                Communication for the purpose of providing
CTRL00129676 Privileged ‐ Withhold   Attorney Client Sam           Morris Missry [MISSRY@wmllp.com]           Sam Rottenberg [sam.rottenberg@gmail.com] Tom Li [tli@sprgp.com]                                Re: 840 Atlantic Ave                          Email         1/24/2019 16:50 Outlook Message File                  legal advice concerning 840 Atlantic appraisal
                                                     Rottenberg,                                                                                                                                                                                                                                                                Communication for the purpose of providing
CTRL00129677 Privileged ‐ Withhold   Attorney Client Sam           Morris Missry [MISSRY@wmllp.com]           Sam Rottenberg [sam.rottenberg@gmail.com] Tom Li [tli@sprgp.com]                                Re: 840 Atlantic Ave                          Email         1/24/2019 17:02 Outlook Message File                  legal advice concerning 840 Atlantic appraisal
                                                     Rottenberg,                                                                                                                                                                                                                                                                Communication for the purpose of providing
CTRL00131893 Privileged ‐ Withhold   Attorney Client Sam           Morris Missry [MISSRY@wmllp.com]           Sam Rottenberg [sam.rottenberg@gmail.com] 'Tom Li' [tli@sprgp.com]                              RE: 840 Atlantic Ave McDonalds call           Email          3/4/2019 20:01 Outlook Message File                  legal advice concerning 840 Atlantic appraisal
                                                     Rottenberg,                                                                                                                                                                                                                                                                Communication for the purpose of providing
CTRL00133653 Privileged ‐ Redact     Attorney Client Sam           Morris Missry [MISSRY@wmllp.com]           Sam Rottenberg [sam.rottenberg@gmail.com] Tom [tli@sprgp.com]                                   RE: L/C 031‐2093 Brooklyn, NY                 Email         4/15/2019 17:30 Outlook Message File                  legal advice concerning 840 Atlantic appraisal
                                                                                                              Sam Rottenberg                                                                                                                                                                                                    Communication for the purpose of providing
                                                   Rottenberg,                                                [sam.rottenberg@gmail.com];Tom                                                                  Vanderbilt to McDonalds Letter 04‐15‐19                                                                           legal advice concerning McDonald’s lease
CTRL00133680 Privileged ‐ Withhold Attorney Client Sam             Morris Missry [MISSRY@wmllp.com]           [tli@sprgp.com]                                                                                 (00188524xDE802).DOCX                         Email         4/15/2019 20:11 Outlook Message File                  renewal
                                                   Rottenberg,                                                                                                                                                                                                                                                                  Draft regarding and reflecting legal advice
CTRL00133681 Privileged ‐ Withhold Work Product Sam                                                                                                                                                                                                         Attach        4/15/2019 20:11 Microsoft Office Word Open XML Format concerning McDonald’s lease renewal
                                                                                                              Sam Rottenberg                                                                                                                                                                                                    Communication for the purpose of providing
                                                   Rottenberg,                                                [sam.rottenberg@gmail.com];Tom                                                                  Vanderbilt to McDonalds Letter 04‐15‐19                                                                           legal advice concerning McDonald’s lease
CTRL00133683 Privileged ‐ Withhold Attorney Client Sam             Morris Missry [MISSRY@wmllp.com]           [tli@sprgp.com]                             Abel Santamaria [Santamaria@wmllp.com]              (00188524xDE802).DOCX                         Email         4/15/2019 20:32 Outlook Message File                  renewal
                                                   Rottenberg,                                                                                                                                                                                                                                                                  Draft regarding and reflecting legal advice
CTRL00133684 Privileged ‐ Withhold Work Product Sam                                                                                                                                                                                                         Attach        4/15/2019 20:32 Microsoft Office Word Open XML Format concerning McDonald’s lease renewal
                                                   Rottenberg,                                                                                                                                                                                                                                                                  Communication for the purpose of providing
CTRL00133931 Privileged ‐ Redact   Attorney Client Sam             Morris Missry [MISSRY@wmllp.com]           Sam Rottenberg [sam.rottenberg@gmail.com]                                                       Re: 840 Atlantic Avenue ‐ FMR                 Email         4/23/2019 16:53 Outlook Message File                  legal advice concerning 840 Atlantic appraisal
                                                   Rottenberg,                                                                                                                                                                                                                                                                  Communication for the purpose of providing
CTRL00133955 Privileged ‐ Redact   Attorney Client Sam             Morris Missry [MISSRY@wmllp.com]           Sam Rottenberg [sam.rottenberg@gmail.com]                                                       Re: 840 Atlantic Avenue ‐ FMR                 Email         4/23/2019 21:23 Outlook Message File                  legal advice concerning 840 Atlantic appraisal
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                                                     Rottenberg,                                                                                                                                                                                                                                                                legal advice concerning McDonald’s lease
CTRL00135660 Privileged ‐ Redact     Attorney Client Sam           Morris Missry [MISSRY@wmllp.com]           Sam Rottenberg [sam.rottenberg@gmail.com]                                                       Re: 840 Atlantic Ave                          Email         5/22/2019 19:28 Outlook Message File                  renewal
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                                                     Rottenberg,                                                                                                                                                                                                                                                                legal advice concerning McDonald’s lease
CTRL00135666 Privileged ‐ Redact     Attorney Client Sam           Morris Missry [MISSRY@wmllp.com]           Sam Rottenberg [sam.rottenberg@gmail.com]                                                       FW: 840 Atlantic Ave                          Email         5/22/2019 19:58 Outlook Message File                  renewal
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                                                     Rottenberg,                                                                                                                                                                                                                                                                legal advice concerning McDonald’s lease
CTRL00135793 Privileged ‐ Redact     Attorney Client Sam           Morris Missry [MISSRY@wmllp.com]           Sam Rottenberg [sam.rottenberg@gmail.com]                                                       Re: 840 Atlantic Ave                          Email         5/27/2019 22:30 Outlook Message File                  renewal
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                                                   Rottenberg,                                                                                                                                                Sending: L_C 031‐2093 Brooklyn NY_Letter                                                                          legal advice concerning McDonald’s lease
CTRL00137254 Privileged ‐ Withhold Attorney Client Sam             Morris Missry [MISSRY@wmllp.com]           Sam Rottenberg [sam.rottenberg@gmail.com]                                                       Agreement(1081319.1).doc                      Email          7/1/2019 18:15 Outlook Message File                  renewal
                                                                                                              Sam Rottenberg                                                                                                                                                                                                    Communication for the purpose of providing
                                                     Rottenberg,                                              [sam.rottenberg@gmail.com];MAI Thomas J.                                                                                                                                                                          legal advice concerning McDonald’s lease
CTRL00137342 Privileged ‐ Redact     Attorney Client Sam           Morris Missry [MISSRY@wmllp.com]           Tener [tjtener@ktrfirst.com]                                                                    Fwd: McDonald's letter                        Email          7/2/2019 21:16 Outlook Message File                  renewal
                                                                                                                                                                                                                                                                                                                                Communication for the purpose of providing
                                                     Rottenberg,                                                                                                                                              FW: L_C 031‐2093 Brooklyn NY_Letter [MCD‐                                                                         legal advice concerning McDonald’s lease
CTRL00139594 Privileged ‐ Redact     Attorney Client Sam           Morris Missry [MISSRY@wmllp.com]           Sam Rottenberg [sam.rottenberg@gmail.com]                                                       LEGAL_USA.FID962110]                          Email         8/29/2019 14:15 Outlook Message File                  renewal
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                                                   Rottenberg,                                                                                                                                                                                                                                                                  legal advice concerning 840 Atlantic lease
CTRL00140051 Privileged ‐ Withhold Attorney Client Sam             Tom [tli@sprgp.com]                        cyril.touchard@friedfrank.com               Sam Rottenberg [sam.rottenberg@gmail.com]           840 Atlantic Ave ‐ McDonald's Lease           Email         9/10/2019 18:59 Outlook Message File                  agreements
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                                                   Rottenberg,                                                                                                                                                                                                                                                                  legal advice concerning 840 Atlantic lease
CTRL00141664 Privileged ‐ Withhold Attorney Client Sam             Tom [tli@sprgp.com]                        missry@wmllp.com                            Sam Rottenberg [sam.rottenberg@gmail.com]           840 Atlantic Ave ‐ option rent addendum       Email         11/6/2019 20:00 Outlook Message File                  agreements
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                                                   Rottenberg,                                                                                                                                                                                                                                                                  legal advice concerning 840 Atlantic lease
CTRL00141667 Privileged ‐ Withhold Attorney Client Sam             Morris Missry [MISSRY@wmllp.com]           Tom [tli@sprgp.com]                         Sam Rottenberg [sam.rottenberg@gmail.com]           Re: 840 Atlantic Ave ‐ option rent addendum   Email         11/6/2019 20:05 Outlook Message File                  agreements
                                                                                                                                                                                                              Fwd: FW: L_C 031‐2093 Brooklyn NY_Letter                                                                          Communication for the purpose of providing
                                                     Rottenberg,                                                                                                                                              Agreement(1081319.5) (002).doc [MCD‐                                                                              legal advice concerning McDonald’s lease
CTRL00145984 Privileged ‐ Redact     Attorney Client Sam           Sam Rottenberg [sam.rottenberg@gmail.com] Tom Li [tli@sprgp.com]                                                                           LEGAL_USA.FID962110]                          Email          9/6/2019 15:55 Outlook Message File                  renewal
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                                                                                                                                                                                                                                                                                                                                legal advice concerning 840 Atlantic lease
CTRL00246509 Privileged ‐ Withhold Attorney Client Li, Tom         Sam Rottenberg [Sam.rottenberg@gmail.com] Sam Rottenberg [srottenberg@sprgp.com]                                                           840 Atlantic Ave                              Email          7/2/2018 22:54 Outlook Message File                  agreements




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                                                                                               McDonald's Corporation v. Vanderbilt Atlantic Holdings LLC , Case No. 19‐cv‐06471 (E.D.N.Y.)
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  Control ID     Privilege Status   Privilege Type    Custodian                   Email From                                Email To                                    Email CC                                            Email Subject                 Record Type Chron Date‐Time                File Description                        Narrative Description
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                                                   Rottenberg,                                                                                                                                                                                                                                                                legal advice concerning McDonald’s lease
CTRL00284760 Privileged ‐ Withhold Attorney Client Sam            Morris Missry [MISSRY@wmllp.com]         Tom [tli@sprgp.com]                         Sam Rottenberg [sam.rottenberg@gmail.com]           Re: 840 Atlantic Ave ‐ option rent addendum    Email         11/6/2019 20:05 Outlook Message File                  renewal
                                                                                                                                                                                                                                                                                                                              Communication for the purpose of providing
                                                   Rottenberg,    Stefanie Marazzi                                                                     Tom [tli@sprgp.com];Stuart Beckerman                                                                                                                                   legal advice concerning Slater & Beckerman
CTRL00286361 Privileged ‐ Withhold Attorney Client Sam            [Smarazzi@slaterbeckerman.com]           sam.rottenberg@gmail.com                    [sbeckerman@slaterbeckerman.com]                    840 Atlantic Avenue                            Email         10/9/2019 23:00 Outlook Message File                  lobbying agreement
                                                                                                                                                                                                                                                                                                                              Communication for the purpose of providing
                                                   Rottenberg,    Touchard, Cyril                                                                                                                                                                                                                                             legal advice concerning 840 Atlantic lease
CTRL00287123 Privileged ‐ Withhold Attorney Client Sam            [Cyril.Touchard@friedfrank.com]          Sam Rottenberg [sam.rottenberg@gmail.com] Tom [tli@sprgp.com]                                   RE: 840 Atlantic Ave ‐ McDonald's Lease        Email          9/17/2019 3:26 Outlook Message File                  agreements
                                                   Rottenberg,    Stefanie Marazzi                                                                                                                                                                                                                                            Communication for the purpose of providing
CTRL00288295 Privileged ‐ Withhold Attorney Client Sam            [Smarazzi@slaterbeckerman.com]           Sam Rottenberg [sam.rottenberg@gmail.com]                                                       840 Atlantic                                   Email          9/6/2019 20:34 Outlook Message File                  legal advice concerning 840 Atlantic rezoning
                                                                                                                                                                                                                                                                                                                              Communication for the purpose of providing
                                                    Rottenberg,                                                                                                                                            FW: 840 Atlantic Ave [MCD‐                                                                                         legal advice concerning McDonald’s lease
CTRL00289133 Privileged ‐ Redact    Attorney Client Sam           Morris Missry [MISSRY@wmllp.com]         Sam Rottenberg [sam.rottenberg@gmail.com]                                                       LEGAL_USA.FID962110]                           Email         8/29/2019 13:32 Outlook Message File                  renewal
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                                                    Rottenberg,                                                                                                                                            RE: 840 Atlantic Ave [MCD‐                                                                                         legal advice concerning McDonald’s lease
CTRL00294719 Privileged ‐ Redact    Attorney Client Sam           Morris Missry [MISSRY@wmllp.com]         Sam Rottenberg [sam.rottenberg@gmail.com]                                                       LEGAL_USA.FID962110]                           Email         6/26/2019 18:09 Outlook Message File                  renewal
                                                                                                                                                                                                                                                                                                                              Communication for the purpose of providing
                                                    Rottenberg,                                                                                                                                                                                                                                                               legal advice concerning McDonald’s lease
CTRL00298244 Privileged ‐ Redact    Attorney Client Sam           Morris Missry [MISSRY@wmllp.com]         Sam Rottenberg [sam.rottenberg@gmail.com]                                                       FW: 840 Atlantic Ave                           Email         5/22/2019 19:58 Outlook Message File                  renewal
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                                                    Rottenberg,                                                                                                                                                                                                                                                               legal advice concerning McDonald’s lease
CTRL00298517 Privileged ‐ Redact    Attorney Client Sam           Morris Missry [MISSRY@wmllp.com]         Sam Rottenberg [sam.rottenberg@gmail.com]                                                       FW: 3rd appraiser ‐ 840 Atlantic Avenue        Email         5/20/2019 20:06 Outlook Message File                  renewal
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                                                    Rottenberg,                                                                                                                                                                                                                                                               legal advice concerning McDonald’s lease
CTRL00298526 Privileged ‐ Redact    Attorney Client Sam           Morris Missry [MISSRY@wmllp.com]         Sam Rottenberg [sam.rottenberg@gmail.com] Tom [tli@sprgp.com]                                   RE: 840 Atlantic Ave                           Email         5/20/2019 19:40 Outlook Message File                  renewal
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                                                    Rottenberg,                                                                                                                                                                                                                                                               legal advice concerning McDonald’s lease
CTRL00299534 Privileged ‐ Redact    Attorney Client Sam           Morris Missry [MISSRY@wmllp.com]         Sam Rottenberg [sam.rottenberg@gmail.com]                                                       FW: 840 Atlantic Ave                           Email         5/13/2019 20:17 Outlook Message File                  renewal
                                                                                                           Sam Rottenberg                                                                                                                                                                                                     Communication for the purpose of providing
                                                   Rottenberg,                                             [sam.rottenberg@gmail.com];Tom                                                                  Vanderbilt to McDonalds Letter 04‐15‐19                                                                            legal advice concerning McDonald’s lease
CTRL00302326 Privileged ‐ Withhold Attorney Client Sam            Morris Missry [MISSRY@wmllp.com]         [tli@sprgp.com]                           Abel Santamaria [Santamaria@wmllp.com]                (00188524xDE802).DOCX                          Email         4/15/2019 20:32 Outlook Message File                  renewal
                                                   Rottenberg,                                                                                                                                                                                                                                                                Draft regarding and reflecting legal advice
CTRL00302327 Privileged ‐ Withhold Work Product Sam                                                                                                                                                                                                       Attach        4/15/2019 20:32 Microsoft Office Word Open XML Format concerning 840 Atlantic lease agreements
                                                                                                           Sam Rottenberg                                                                                                                                                                                                     Communication for the purpose of providing
                                                   Rottenberg,                                             [sam.rottenberg@gmail.com];Tom                                                                  Vanderbilt to McDonalds Letter 04‐15‐19                                                                            legal advice concerning McDonald’s lease
CTRL00302329 Privileged ‐ Withhold Attorney Client Sam            Morris Missry [MISSRY@wmllp.com]         [tli@sprgp.com]                                                                                 (00188524xDE802).DOCX                          Email         4/15/2019 20:11 Outlook Message File                  renewal
                                                   Rottenberg,                                                                                                                                                                                                                                                                Draft regarding and reflecting legal advice
CTRL00302330 Privileged ‐ Withhold Work Product Sam                                                                                                                                                                                                       Attach        4/15/2019 20:11 Microsoft Office Word Open XML Format concerning 840 Atlantic lease agreements
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                                                    Rottenberg,                                                                                                                                                                                                                                                               legal advice concerning McDonald’s lease
CTRL00302361 Privileged ‐ Redact    Attorney Client Sam           Morris Missry [MISSRY@wmllp.com]         Sam Rottenberg [sam.rottenberg@gmail.com] Tom [tli@sprgp.com]                                   RE: L/C 031‐2093 Brooklyn, NY                  Email         4/15/2019 17:30 Outlook Message File                  renewal
                                                                                                           'Sam Rottenberg'
                                                   Rottenberg,                                             [sam.rottenberg@gmail.com];Tom                                                                  FW: Confidential Draft ‐ Attorney Client                                                                           Communication for the purpose of providing
CTRL00304035 Privileged ‐ Withhold Attorney Client Sam            Morris Missry [MISSRY@wmllp.com]         [tli@sprgp.com]                                                                                 Privileged Information                         Email          4/2/2019 21:20 Outlook Message File                  legal advice concerning 840 Atlantic appraisal
                                                                                                           'Sam Rottenberg'                                                                                                                                                                                                   Communication for the purpose of providing
                                                   Rottenberg,                                             [sam.rottenberg@gmail.com];Tom                                                                  Tenant Rent Letter ‐ McDonalds (840 Atlantic                                                                       legal advice concerning McDonald’s lease
CTRL00304055 Privileged ‐ Withhold Attorney Client Sam            Morris Missry [MISSRY@wmllp.com]         [tli@sprgp.com]                                                                                 Ave).docx                                      Email          4/2/2019 19:12 Outlook Message File                  renewal
                                                   Rottenberg,                                                                                                                                                                                                                                                                Draft regarding and reflecting legal advice
CTRL00304056 Privileged ‐ Withhold Work Product Sam                                                                                                                                                                                                       Attach         4/2/2019 19:12 Microsoft Office Word Open XML Format concerning McDonald’s lease renewal
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                                                    Rottenberg,                                                                                                                                                                                                                                                               legal advice concerning 840 Atlantic lease
CTRL00307570 Privileged ‐ Redact    Attorney Client Sam           Tom [tli@sprgp.com]                      Sam Rottenberg [sam.rottenberg@gmail.com]                                                       FW: New matter/client B'klyn                   Email          3/4/2019 22:27 Outlook Message File                  agreements
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                                                   Rottenberg,                                                                                                                                                                                                                                                                legal advice concerning McDonald’s lease
CTRL00307588 Privileged ‐ Withhold Attorney Client Sam            Morris Missry [MISSRY@wmllp.com]         Sam Rottenberg [sam.rottenberg@gmail.com] Tom [tli@sprgp.com]                                   RE: 840 Atlantic Ave McDonalds call            Email          3/4/2019 20:01 Outlook Message File                  renewal
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                                                   Rottenberg,                                             Morris Missry [MISSRY@wmllp.com];Sam                                                                                                                                                                               legal advice concerning 840 Atlantic lease
CTRL00308553 Privileged ‐ Withhold Attorney Client Sam            Abel Santamaria [Santamaria@wmllp.com]   Rottenberg [sam.rottenberg@gmail.com]       Tom [tli@sprgp.com]                                 RE: 840 Atlantic Ave McDonalds call            Email         2/22/2019 14:31 Outlook Message File                  agreements
                                                   Rottenberg,                                                                                         Tom [tli@sprgp.com];Abel Santamaria                                                                                                                                    Communication for the purpose of providing
CTRL00308635 Privileged ‐ Withhold Attorney Client Sam            Morris Missry [MISSRY@wmllp.com]         Sam Rottenberg [sam.rottenberg@gmail.com]   [Santamaria@wmllp.com]                              Re: 840 Atlantic Ave McDonalds call            Email          2/22/2019 0:59 Outlook Message File                  legal advice concerning 840 Atlantic appraisal
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                                                   Rottenberg,                                                                                                                                                                                                                                                                legal advice concerning McDonald’s lease
CTRL00309623 Privileged ‐ Withhold Attorney Client Sam            Morris Missry [MISSRY@wmllp.com]         Sam Rottenberg [sam.rottenberg@gmail.com] Tom [tli@sprgp.com]                                   Re: 840 Atlantic Ave McDonalds call            Email         2/13/2019 23:36 Outlook Message File                  renewal
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                                                   Rottenberg,                                                                                                                                                                                                                                                                legal advice concerning McDonald’s lease
CTRL00309668 Privileged ‐ Withhold Attorney Client Sam            Morris Missry [MISSRY@wmllp.com]         Sam Rottenberg [sam.rottenberg@gmail.com] Tom [tli@sprgp.com]                                   Re: 840 Atlantic Ave McDonalds call            Email         2/13/2019 16:41 Outlook Message File                  renewal
                                                   Rottenberg,                                                                                                                                                                                                                                                                Communication for the purpose of providing
CTRL00310731 Privileged ‐ Withhold Attorney Client Sam            Tom [tli@sprgp.com]                      missry@wmllp.com                            Sam Rottenberg [sam.rottenberg@gmail.com]           RE: 840 Atlantic Ave                           Email          2/6/2019 22:27 Outlook Message File                  legal advice concerning 840 Atlantic appraisal
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                                                    Rottenberg,                                                                                                                                                                                                                                                               legal advice concerning 840 Atlantic lease
CTRL00310761 Privileged ‐ Redact    Attorney Client Sam           Morris Missry [MISSRY@wmllp.com]         Sam Rottenberg [sam.rottenberg@gmail.com]                                                       FW: 840 Atlantic Ave                           Email          2/6/2019 19:20 Outlook Message File                  agreements
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                                                   Rottenberg,                                                                                                                                                                                                                                                                legal advice concerning 840 Atlantic lease
CTRL00312386 Privileged ‐ Withhold Attorney Client Sam            Morris Missry [MISSRY@wmllp.com]         Sam Rottenberg [sam.rottenberg@gmail.com] Tom [tli@sprgp.com]                                   Re: 840 Atlantic Ave                           Email         1/24/2019 17:02 Outlook Message File                  agreements
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                                                   Rottenberg,                                                                                                                                                                                                                                                                legal advice concerning 840 Atlantic lease
CTRL00312387 Privileged ‐ Withhold Attorney Client Sam            Morris Missry [MISSRY@wmllp.com]         Sam Rottenberg [sam.rottenberg@gmail.com] Tom [tli@sprgp.com]                                   Re: 840 Atlantic Ave                           Email         1/24/2019 16:50 Outlook Message File                  agreements
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                                                   Rottenberg,                                                                                                                                                                                                                                                                legal advice concerning 840 Atlantic lease
CTRL00312406 Privileged ‐ Withhold Attorney Client Sam            Morris Missry [MISSRY@wmllp.com]         Sam Rottenberg [sam.rottenberg@gmail.com] Tom [tli@sprgp.com]                                   Re: 840 Atlantic Ave                           Email         1/24/2019 14:05 Outlook Message File                  agreements
                                                                                                                                                                                                                                                                                                                              Communication for the purpose of providing
                                                   Rottenberg,                                                                                                                                                                                                                                                                legal advice concerning 840 Atlantic lease
CTRL00312486 Privileged ‐ Withhold Attorney Client Sam            Morris Missry [MISSRY@wmllp.com]         Tom [tli@sprgp.com]                         Sam Rottenberg [sam.rottenberg@gmail.com]           Re: 840 Atlantic Ave                           Email         1/24/2019 12:01 Outlook Message File                  agreements




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                                                                                               McDonald's Corporation v. Vanderbilt Atlantic Holdings LLC , Case No. 19‐cv‐06471 (E.D.N.Y.)
                                                                                                                                                           DEFENDANT'S PRIVILEGE LOG
                                                                                                                                                                                                            Email
  Control ID     Privilege Status   Privilege Type    Custodian                   Email From                                     Email To                                     Email CC                                                 Email Subject               Record Type Chron Date‐Time                File Description                         Narrative Description
                                                                                                                                                                                                             BCC
                                                                                                                                                                                                                                                                                                                                       Communication for the purpose of providing
                                                   Rottenberg,                                                                                                                                                                                                                                                                         legal advice concerning 840 Atlantic lease
CTRL00312882 Privileged ‐ Withhold Attorney Client Sam            Morris Missry [MISSRY@wmllp.com]             Tom [tli@sprgp.com]                          Sam Rottenberg [sam.rottenberg@gmail.com]               Re: 840 Atlantic Ave                           Email         1/22/2019 15:22 Outlook Message File                  agreements
                                                                                                                                                                                                                                                                                                                                       Communication for the purpose of providing
                                                   Rottenberg,                                                                                                                                                                                                                                                                         legal advice concerning 840 Atlantic lease
CTRL00312883 Privileged ‐ Withhold Attorney Client Sam            Tom [tli@sprgp.com]                      missry@wmllp.com                                 Sam Rottenberg [sam.rottenberg@gmail.com]               840 Atlantic Ave                               Email         1/22/2019 15:14 Outlook Message File                  agreements
                                                                                                           Sam Rottenberg                                                                                                                                                                                                              Communication for the purpose of providing
                                                   Rottenberg,                                             [sam.rottenberg@gmail.com];Tom                                                                                                                                                                                              legal advice concerning McDonald’s lease
CTRL00313365 Privileged ‐ Withhold Attorney Client Sam            Rokeach, Tzvi [TRokeach@KRAMERLEVIN.com] [tli@sprgp.com]                                                                                          Letter to McDonald's                           Email          1/18/2019 6:18 Outlook Message File                  renewal
                                                   Rottenberg,                                                                                                                                                                                                                                                                         Draft regarding and reflecting legal advice
CTRL00313366 Privileged ‐ Withhold Work Product Sam                                                                                                                                                                                                                Attach         1/18/2019 6:18 Microsoft Office Word Open XML Format concerning McDonald’s lease renewal
                                                                                                           Sam Rottenberg                                                                                                                                                                                                              Communication for the purpose of providing
                                                   Rottenberg,                                             [sam.rottenberg@gmail.com];Tom                                                                                                                                                                                              legal advice concerning McDonald’s lease
CTRL00313666 Privileged ‐ Withhold Attorney Client Sam            Rokeach, Tzvi [TRokeach@KRAMERLEVIN.com] [tli@sprgp.com]                                                                                          RE: [EXTERNAL] RE: New matter/client B'klyn    Email         1/16/2019 19:53 Outlook Message File                  renewal
                                                   Rottenberg,                                                                                                                                                                                                                                                                         Communication for the purpose of providing
CTRL00313871 Privileged ‐ Withhold Attorney Client Sam            Tom [tli@sprgp.com]                          Rokeach, Tzvi [TRokeach@KRAMERLEVIN.com] Sam Rottenberg [sam.rottenberg@gmail.com]                   RE: New matter/client B'klyn                   Email         1/15/2019 18:58 Outlook Message File                  legal advice concerning 840 Atlantic appraisal
                                                   Rottenberg,                                                                                                                                                                                                                                                                         Communication for the purpose of providing
CTRL00313873 Privileged ‐ Withhold Attorney Client Sam            Rokeach, Tzvi [TRokeach@KRAMERLEVIN.com] Tom [tli@sprgp.com]                              Sam Rottenberg [sam.rottenberg@gmail.com]               RE: New matter/client B'klyn                   Email         1/15/2019 18:44 Outlook Message File                  legal advice concerning 840 Atlantic appraisal
                                                                                                                                                                                                                                                                                                                                       Communication for the purpose of providing
                                                   Rottenberg,                                                                                                                                                                                                                                                                         legal advice concerning 840 Atlantic lease
CTRL00313883 Privileged ‐ Withhold Attorney Client Sam            Tom [tli@sprgp.com]                          trokeach@kramerlevin.com                     Sam Rottenberg [sam.rottenberg@gmail.com]               RE: New matter/client B'klyn                   Email         1/15/2019 17:59 Outlook Message File                  agreements
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                                                   Rottenberg,                                                                                                                                                                                                                                                                         legal advice concerning 840 Atlantic lease
CTRL00314052 Privileged ‐ Withhold Attorney Client Sam            Rokeach, Tzvi [TRokeach@KRAMERLEVIN.com] Sam Rottenberg [sam.rottenberg@gmail.com] Tom [tli@sprgp.com]                                            RE: [EXTERNAL] RE: New matter/client B'klyn    Email         1/14/2019 21:23 Outlook Message File                  agreements
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                                                   Rottenberg,                                                                                                                                                                                                                                                                         legal advice concerning 840 Atlantic lease
CTRL00314073 Privileged ‐ Withhold Attorney Client Sam            Rokeach, Tzvi [TRokeach@KRAMERLEVIN.com] Sam Rottenberg [sam.rottenberg@gmail.com] Tom [tli@sprgp.com]                                            RE: [EXTERNAL] RE: New matter/client B'klyn    Email         1/14/2019 18:49 Outlook Message File                  agreements
                                                                                                                                                                                                                                                                                                                                       Communication for the purpose of providing
                                                   Rottenberg,                                                                                                                                                                                                                                                                         legal advice concerning 840 Atlantic lease
CTRL00314322 Privileged ‐ Withhold Attorney Client Sam            Rokeach, Tzvi [TRokeach@KRAMERLEVIN.com] Sam Rottenberg [sam.rottenberg@gmail.com] Tom [tli@sprgp.com]                                            Re: [EXTERNAL] RE: New matter/client B'klyn    Email         1/11/2019 15:33 Outlook Message File                  agreements
                                                                                                                                                                                                                                                                                                                                       Communication for the purpose of providing
                                                   Rottenberg,                                                                                                                                                                                                                                                                         legal advice concerning 840 Atlantic lease
CTRL00314324 Privileged ‐ Withhold Attorney Client Sam            Rokeach, Tzvi [TRokeach@KRAMERLEVIN.com] Tom [tli@sprgp.com]                              Sam Rottenberg [sam.rottenberg@gmail.com]               Re: [EXTERNAL] RE: New matter/client B'klyn    Email         1/11/2019 15:10 Outlook Message File                  agreements
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                                                   Rottenberg,                                                                                                                                                                                                                                                                         legal advice concerning 840 Atlantic lease
CTRL00314404 Privileged ‐ Withhold Attorney Client Sam            Rokeach, Tzvi [TRokeach@KRAMERLEVIN.com] Tom [tli@sprgp.com]                              Sam Rottenberg [sam.rottenberg@gmail.com]               Re: [EXTERNAL] RE: New matter/client B'klyn    Email         1/10/2019 22:44 Outlook Message File                  agreements
                                                                                                                                                                                                                                                                                                                                       Communication for the purpose of providing
                                                   Rottenberg,                                                                                                                                                                                                                                                                         legal advice concerning 840 Atlantic lease
CTRL00314486 Privileged ‐ Withhold Attorney Client Sam            Tom [tli@sprgp.com]                          trokeach@kramerlevin.com                       Sam Rottenberg [sam.rottenberg@gmail.com]             RE: New matter/client B'klyn                   Email         1/10/2019 19:21 Outlook Message File                  agreements
                                                                                                                                                              Sam Rottenberg
                                                                                                                                                              [sam.rottenberg@gmail.com];Stefanie Marazzi           RE: VANDERBILT ATLANTIC HOLDINGS LLC ‐
                                                   Rottenberg,                                                                                                [Smarazzi@slaterbeckerman.com];Robert                 2018 Annual (City) and Semi‐Annual (State)                                                                            Communication for the purpose of providing
CTRL00314630 Privileged ‐ Withhold Attorney Client Sam            Tom [tli@sprgp.com]                           Taisha Pickett [tpickett@slaterbeckerman.com] Huberman [rhuberman@slaterbeckerman.com]              Lobbying Reporting                             Email          1/9/2019 22:08 Outlook Message File                     legal advice concerning 840 Atlantic rezoning
                                                                                                                                                              Sam Rottenberg
                                                                                                                                                              [sam.rottenberg@gmail.com];Stefanie Marazzi           RE: VANDERBILT ATLANTIC HOLDINGS LLC ‐
                                                   Rottenberg,                                                                                                [Smarazzi@slaterbeckerman.com];Robert                 2018 Annual (City) and Semi‐Annual (State)                                                                            Communication for the purpose of providing
CTRL00314636 Privileged ‐ Withhold Attorney Client Sam            Taisha Pickett [tpickett@slaterbeckerman.com] Tom [tli@sprgp.com]                           Huberman [rhuberman@slaterbeckerman.com]              Lobbying Reporting                             Email          1/9/2019 22:07 Outlook Message File                     legal advice concerning 840 Atlantic rezoning
                                                                                                                                                              Sam Rottenberg
                                                                                                                                                              [sam.rottenberg@gmail.com];Stefanie Marazzi           RE: VANDERBILT ATLANTIC HOLDINGS LLC ‐
                                                   Rottenberg,                                                                                                [Smarazzi@slaterbeckerman.com];Robert                 2018 Annual (City) and Semi‐Annual (State)                                                                            Communication for the purpose of providing
CTRL00314639 Privileged ‐ Withhold Attorney Client Sam            Tom [tli@sprgp.com]                           Taisha Pickett [tpickett@slaterbeckerman.com] Huberman [rhuberman@slaterbeckerman.com]              Lobbying Reporting                             Email          1/9/2019 22:01 Outlook Message File                     legal advice concerning 840 Atlantic rezoning
                                                                                                                                                              Sam Rottenberg
                                                                                                                                                              [sam.rottenberg@gmail.com];Stefanie Marazzi           VANDERBILT ATLANTIC HOLDINGS LLC ‐ 2018
                                                   Rottenberg,                                                                                                [Smarazzi@slaterbeckerman.com];Robert                 Annual (City) and Semi‐Annual (State) Lobbying                                                                        Communication for the purpose of providing
CTRL00314661 Privileged ‐ Withhold Attorney Client Sam            Taisha Pickett [tpickett@slaterbeckerman.com] Tom [tli@sprgp.com]                           Huberman [rhuberman@slaterbeckerman.com]              Reporting                                      Email          1/9/2019 19:05 Outlook Message File                     legal advice concerning 840 Atlantic rezoning
                                                                                                                                                              Sam Rottenberg
                                                                                                                                                              [sam.rottenberg@gmail.com];Stefanie Marazzi           RE: REMINDER: Vanderbilt Atlantic Holdings LLC                                                                        Communication for the purpose of providing
                                                   Rottenberg,                                                                                                [Smarazzi@slaterbeckerman.com];Robert                 ‐ 2019 Lobbying Agreement ‐ Please Sign and                                                                           legal advice concerning Slater & Beckerman
CTRL00316195 Privileged ‐ Withhold Attorney Client Sam            Taisha Pickett [tpickett@slaterbeckerman.com] Tom [tli@sprgp.com]                           Huberman [rhuberman@slaterbeckerman.com]              Return                                         Email        12/18/2018 21:01 Outlook Message File                     lobbying agreement
                                                                                                                                                              Sam Rottenberg
                                                                                                                                                              [sam.rottenberg@gmail.com];Stefanie Marazzi           RE: REMINDER: Vanderbilt Atlantic Holdings LLC                                                                        Communication for the purpose of providing
                                                   Rottenberg,                                                                                                [Smarazzi@slaterbeckerman.com];Robert                 ‐ 2019 Lobbying Agreement ‐ Please Sign and                                                                           legal advice concerning Slater & Beckerman
CTRL00316196 Privileged ‐ Withhold Attorney Client Sam            Tom [tli@sprgp.com]                           Taisha Pickett [tpickett@slaterbeckerman.com] Huberman [rhuberman@slaterbeckerman.com]              Return                                         Email        12/18/2018 21:00 Outlook Message File                     lobbying agreement
                                                                                                                                                              Sam Rottenberg
                                                                                                                                                              [sam.rottenberg@gmail.com];Stefanie Marazzi           REMINDER: Vanderbilt Atlantic Holdings LLC ‐                                                                          Communication for the purpose of providing
                                                   Rottenberg,                                                                                                [Smarazzi@slaterbeckerman.com];Robert                 2019 Lobbying Agreement ‐ Please Sign and                                                                             legal advice concerning Slater & Beckerman
CTRL00316198 Privileged ‐ Withhold Attorney Client Sam            Taisha Pickett [tpickett@slaterbeckerman.com] Tom [tli@sprgp.com]                           Huberman [rhuberman@slaterbeckerman.com]              Return                                         Email        12/18/2018 20:47 Outlook Message File                     lobbying agreement
                                                                                                                                                              Sam Rottenberg
                                                                                                                                                              [sam.rottenberg@gmail.com];Stefanie Marazzi                                                                                                                                 Communication for the purpose of providing
                                                   Rottenberg,                                                                                                [Smarazzi@slaterbeckerman.com];Robert                 RE: Vanderbilt Atlantic Holdings LLC ‐ 2019                                                                           legal advice concerning Slater & Beckerman
CTRL00316527 Privileged ‐ Withhold Attorney Client Sam            Tom [tli@sprgp.com]                           Taisha Pickett [tpickett@slaterbeckerman.com] Huberman [rhuberman@slaterbeckerman.com]              Lobbying Agreement ‐ Please Sign and Return    Email         12/12/2018 0:40 Outlook Message File                     lobbying agreement
                                                                                                                                                                                                                                                                                                                                          Communication for the purpose of providing
                                                    Rottenberg,                                                                                                                                                     RE: FW: Vanderbilt Atlantic Holdings LLC ‐ 2019                                                                       legal advice concerning Slater & Beckerman
CTRL00316730 Privileged ‐ Redact    Attorney Client Sam           Tom [tli@sprgp.com]                          Sam Rottenberg [sam.rottenberg@gmail.com]                                                            Lobbying Agreement ‐ Please Sign and Return Email            12/7/2018 20:12 Outlook Message File                     lobbying agreement
                                                                                                                                                                                                                                                                                                                                          Communication for the purpose of providing
                                                    Rottenberg,                                                                                                                                                     RE: FW: Vanderbilt Atlantic Holdings LLC ‐ 2019                                                                       legal advice concerning Slater & Beckerman
CTRL00316732 Privileged ‐ Redact    Attorney Client Sam           Tom [tli@sprgp.com]                          Sam Rottenberg [sam.rottenberg@gmail.com]                                                            Lobbying Agreement ‐ Please Sign and Return Email            12/7/2018 20:09 Outlook Message File                     lobbying agreement
                                                                                                                                                                                                                                                                                                                                          Communication for the purpose of providing
                                                    Rottenberg,                                                                                                                                                     FW: Vanderbilt Atlantic Holdings LLC ‐ 2019                                                                           legal advice concerning Slater & Beckerman
CTRL00316757 Privileged ‐ Redact    Attorney Client Sam           Tom [tli@sprgp.com]                          Sam Rottenberg [sam.rottenberg@gmail.com]                                                            Lobbying Agreement ‐ Please Sign and Return    Email         12/7/2018 16:13 Outlook Message File                     lobbying agreement
                                                                                                                                                            Sam Rottenberg
                                                                                                                                                            [sam.rottenberg@gmail.com];Stefanie Marazzi                                                                                                                                   Communication for the purpose of providing
                                                   Rottenberg,                                                                                              [Smarazzi@slaterbeckerman.com];Robert                   Vanderbilt Atlantic Holdings LLC ‐ 2019                                                                               legal advice concerning Slater & Beckerman
CTRL00316830 Privileged ‐ Withhold Attorney Client Sam            Taisha Pickett [tpickett@slaterbeckerman.com] Tom [tli@sprgp.com]                         Huberman [rhuberman@slaterbeckerman.com]                Lobbying Agreement ‐ Please Sign and Return    Email         12/6/2018 15:55 Outlook Message File                     lobbying agreement




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                                                                                               McDonald's Corporation v. Vanderbilt Atlantic Holdings LLC , Case No. 19‐cv‐06471 (E.D.N.Y.)
                                                                                                                                                          DEFENDANT'S PRIVILEGE LOG
                                                                                                                                                                                                          Email
  Control ID     Privilege Status   Privilege Type    Custodian                   Email From                                    Email To                                     Email CC                                                Email Subject                Record Type Chron Date‐Time               File Description                Narrative Description
                                                                                                                                                                                                           BCC
                                                   Rottenberg,                                                Stefanie Marazzi                                                                                                                                                                                                 Communication for the purpose of providing
CTRL00320397 Privileged ‐ Withhold Attorney Client Sam            Tom [tli@sprgp.com]                         [Smarazzi@slaterbeckerman.com]              Sam Rottenberg [sam.rottenberg@gmail.com]               Re: Lobbying Question                           Email        10/16/2018 17:11 Outlook Message File           legal advice concerning 840 Atlantic rezoning
                                                   Rottenberg,                                                Stefanie Marazzi                                                                                                                                                                                                 Communication for the purpose of providing
CTRL00320591 Privileged ‐ Withhold Attorney Client Sam            Tom [tli@sprgp.com]                         [Smarazzi@slaterbeckerman.com]              Sam Rottenberg [sam.rottenberg@gmail.com]               Re: Lobbying Question                           Email        10/15/2018 20:26 Outlook Message File           legal advice concerning 840 Atlantic rezoning
                                                   Rottenberg,    Stefanie Marazzi                                                                                                                                                                                                                                             Communication for the purpose of providing
CTRL00320593 Privileged ‐ Withhold Attorney Client Sam            [Smarazzi@slaterbeckerman.com]              Tom [tli@sprgp.com]                         Sam Rottenberg [sam.rottenberg@gmail.com]               RE: Lobbying Question                           Email        10/15/2018 20:25 Outlook Message File           legal advice concerning 840 Atlantic rezoning
                                                                                                              Sam Rottenberg
                                                   Rottenberg,    Stefanie Marazzi                            [sam.rottenberg@gmail.com];Raymond Levin                                                                                                                                                                         Communication for the purpose of providing
CTRL00320618 Privileged ‐ Withhold Attorney Client Sam            [Smarazzi@slaterbeckerman.com]              [rlevin@slaterbeckerman.com]                Tom [tli@sprgp.com]                                     RE: 840 Atlantic PAS                            Email        10/15/2018 17:33 Outlook Message File           legal advice concerning 840 Atlantic rezoning
                                                                                                              Stefanie Marazzi
                                                   Rottenberg,                                                [Smarazzi@slaterbeckerman.com];Sam                                                                                                                                                                               Communication for the purpose of providing
CTRL00327798 Privileged ‐ Withhold Attorney Client Sam            Tom [tli@sprgp.com]                         Rottenberg [sam.rottenberg@gmail.com]       Taisha Pickett [tpickett@slaterbeckerman.com]           RE: Lobbying Question                           Email         8/13/2018 22:01 Outlook Message File           legal advice concerning 840 Atlantic rezoning
                                                                                                                                                          Taisha Pickett
                                                   Rottenberg,    Stefanie Marazzi                                                                        [tpickett@slaterbeckerman.com];Tom                                                                                                                                   Communication for the purpose of providing
CTRL00327803 Privileged ‐ Withhold Attorney Client Sam            [Smarazzi@slaterbeckerman.com]              Sam Rottenberg [sam.rottenberg@gmail.com] [tli@sprgp.com]                                           FW: Lobbying Question                           Email         8/13/2018 20:28 Outlook Message File           legal advice concerning 840 Atlantic rezoning
                                                                                                                                                          Raymond Levin
                                                   Rottenberg,    Stefanie Marazzi                                                                        [rlevin@slaterbeckerman.com];Taisha Pickett                                                                                                                          Communication for the purpose of providing
CTRL00327903 Privileged ‐ Withhold Attorney Client Sam            [Smarazzi@slaterbeckerman.com]              Sam Rottenberg [sam.rottenberg@gmail.com] [tpickett@slaterbeckerman.com]                            Lobbying Question                               Email         8/13/2018 16:18 Outlook Message File           legal advice concerning 840 Atlantic rezoning
                                                                                                              Stefanie Marazzi
                                                   Rottenberg,                                                [Smarazzi@slaterbeckerman.com];Sam                                                                  RE: 840 Atlantic ‐ Lobbying Registration                                                                     Communication for the purpose of providing
CTRL00328486 Privileged ‐ Withhold Attorney Client Sam            Tom [tli@sprgp.com]                         Rottenberg [sam.rottenberg@gmail.com]       Raymond Levin [rlevin@slaterbeckerman.com]              Required                                        Email          8/9/2018 15:12 Outlook Message File           legal advice concerning 840 Atlantic rezoning
                                                                                                                                                          Raymond Levin
                                                   Rottenberg,    Stefanie Marazzi                                                                        [rlevin@slaterbeckerman.com];Tom                        RE: 840 Atlantic ‐ Lobbying Registration                                                                     Communication for the purpose of providing
CTRL00328813 Privileged ‐ Withhold Attorney Client Sam            [Smarazzi@slaterbeckerman.com]              Sam Rottenberg [sam.rottenberg@gmail.com] [tli@sprgp.com]                                           Required                                        Email          8/7/2018 14:53 Outlook Message File           legal advice concerning 840 Atlantic rezoning
                                                                                                                                                          Raymond Levin                                                                                                                                                        Communication for the purpose of providing
                                                   Rottenberg,    Stefanie Marazzi                                                                        [rlevin@slaterbeckerman.com];Tom                                                                                                                                     legal advice concerning Slater & Beckerman
CTRL00330412 Privileged ‐ Withhold Attorney Client Sam            [Smarazzi@slaterbeckerman.com]              Sam Rottenberg [sam.rottenberg@gmail.com] [tli@sprgp.com]                                           840 Atlantic ‐ Lobbying Registration Required   Email         7/27/2018 17:46 Outlook Message File           lobbying agreement
                                                                                                                                                          Raymond Levin
                                                   Rottenberg,    Stefanie Marazzi                                                                        [rlevin@slaterbeckerman.com];Sam Rottenberg                                                                                                                          Communication for the purpose of providing
CTRL00330457 Privileged ‐ Withhold Attorney Client Sam            [Smarazzi@slaterbeckerman.com]              Tom [tli@sprgp.com]                         [sam.rottenberg@gmail.com]                              RE: 840 Atlantic                                Email         7/27/2018 16:47 Outlook Message File           legal advice concerning 840 Atlantic rezoning
                                                                                                              Sam Rottenberg
                                                   Rottenberg,                                                [sam.rottenberg@gmail.com];Stefanie Marazzi                                                                                                                                                                      Communication for the purpose of providing
CTRL00330458 Privileged ‐ Withhold Attorney Client Sam            Tom [tli@sprgp.com]                         [Smarazzi@slaterbeckerman.com]              Raymond Levin [rlevin@slaterbeckerman.com]              Re: 840 Atlantic                                Email         7/27/2018 16:42 Outlook Message File           legal advice concerning 840 Atlantic rezoning
                                                                                                              Sam Rottenberg
                                                   Rottenberg,                                                [sam.rottenberg@gmail.com];Stefanie Marazzi                                                                                                                                                                      Communication for the purpose of providing
CTRL00330459 Privileged ‐ Withhold Attorney Client Sam            Tom [tli@sprgp.com]                         [Smarazzi@slaterbeckerman.com]              Raymond Levin [rlevin@slaterbeckerman.com]              Re: 840 Atlantic                                Email         7/27/2018 16:34 Outlook Message File           legal advice concerning 840 Atlantic rezoning
                                                   Rottenberg,    Stefanie Marazzi                                                                                                                                                                                                                                             Communication for the purpose of providing
CTRL00330467 Privileged ‐ Withhold Attorney Client Sam            [Smarazzi@slaterbeckerman.com]              sam.rottenberg@gmail.com                    Raymond Levin [rlevin@slaterbeckerman.com]              840 Atlantic                                    Email         7/27/2018 15:42 Outlook Message File           legal advice concerning 840 Atlantic rezoning
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                                                    Rottenberg,   Murray Schneier                                                                         Jonathan Eiseman                                                                                                                                                     legal advice concerning McDonald’s lease
CTRL00336789 Privileged ‐ Redact    Attorney Client Sam           [MSchneier@EisemanLevine.com]               Sam Rottenberg [sam.rottenberg@gmail.com]   [JEiseman@EisemanLevine.com]                            RE: Atlantic Avenue, Brooklyn, New York         Email          6/7/2018 14:42 Outlook Message File           renewal
                                                                                                                                                                                                                                                                                                                               Communication for the purpose of providing
                                                    Rottenberg,   Murray Schneier                                                                         Jonathan Eiseman                                                                                                                                                     legal advice concerning McDonald’s lease
CTRL00336792 Privileged ‐ Redact    Attorney Client Sam           [MSchneier@EisemanLevine.com]               Sam Rottenberg [sam.rottenberg@gmail.com]   [JEiseman@EisemanLevine.com]                            RE: Atlantic Avenue, Brooklyn, New York         Email          6/7/2018 14:37 Outlook Message File           renewal
                                                                                                                                                                                                                                                                                                                               Communication for the purpose of providing
                                                   Rottenberg,                                                Karnovsky, David                                                                                                                                                                                                 legal advice concerning 840 Atlantic lease
CTRL00352139 Privileged ‐ Withhold Attorney Client Sam            Sam Rottenberg [sam.rottenberg@gmail.com]   [David.Karnovsky@friedfrank.com]                                                                    Fwd: 840 Atlantic Ave ‐ McDonald's Lease        Email         9/11/2019 18:21 Outlook Message File           agreements
                                                                                                                                                                                                                  Fwd: FW: L_C 031‐2093 Brooklyn NY_Letter                                                                     Communication for the purpose of providing
                                                    Rottenberg,                                                                                                                                                   Agreement(1081319.5) (002).doc [MCD‐                                                                         legal advice concerning McDonald’s lease
CTRL00352283 Privileged ‐ Redact    Attorney Client Sam           Sam Rottenberg [sam.rottenberg@gmail.com] Tom [tli@sprgp.com]                                                                                   LEGAL_USA.FID962110]                            Email          9/6/2019 15:55 Outlook Message File           renewal
                                                                                                                                                                                                                                                                                                                               Communication for the purpose of providing
                                                    Rottenberg,                                                                                                                                                   FW: L_C 031‐2093 Brooklyn NY_Letter [MCD‐                                                                    legal advice concerning McDonald’s lease
CTRL00352415 Privileged ‐ Redact    Attorney Client Sam           Sam Rottenberg [Sam.rottenberg@gmail.com] Tom [tli@sprgp.com]                                                                                   LEGAL_USA.FID962110]                            Email          9/3/2019 16:14 Outlook Message File           renewal
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                                                    Rottenberg,                                                                                                                                                                                                                                                                legal advice concerning McDonald’s lease
CTRL00352455 Privileged ‐ Redact    Attorney Client Sam           Sam Rottenberg [sam.rottenberg@gmail.com] Morris Missry [MISSRY@wmllp.com]                                                                      Re: 840 Atlantic                                Email          8/28/2019 1:05 Outlook Message File           renewal
                                                                                                                                                                                                                                                                                                                               Communication for the purpose of providing
                                                    Rottenberg,                                                                                                                                                   Fwd: FW: L/C 031‐2093 Brooklyn, NY [MCD‐                                                                     legal advice concerning McDonald’s lease
CTRL00353081 Privileged ‐ Redact    Attorney Client Sam           Sam Rottenberg [sam.rottenberg@gmail.com] Tom [tli@sprgp.com]                                                                                   LEGAL_USA.FID962110]                            Email         7/23/2019 19:46 Outlook Message File           renewal
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                                                    Rottenberg,                                                                                                                                                   Re: 840 Atlantic Ave [MCD‐                                                                                   legal advice concerning McDonald’s lease
CTRL00353573 Privileged ‐ Redact    Attorney Client Sam           Sam Rottenberg [sam.rottenberg@gmail.com] Morris Missry [MISSRY@wmllp.com]                                                                      LEGAL_USA.FID962110]                            Email         6/26/2019 16:56 Outlook Message File           renewal
                                                                                                                                                                                                                                                                                                                               Communication for the purpose of providing
                                                    Rottenberg,                                                                                                                                                   RE: 840 Atlantic Ave [MCD‐                                                                                   legal advice concerning McDonald’s lease
CTRL00353630 Privileged ‐ Redact    Attorney Client Sam           Sam Rottenberg [Sam.rottenberg@gmail.com] Morris Missry [MISSRY@wmllp.com]                                                                      LEGAL_USA.FID962110]                            Email         6/25/2019 18:17 Outlook Message File           renewal
                                                                                                                                                                                                                                                                                                                               Communication for the purpose of providing
                                                    Rottenberg,                                                                                                                                                   Re: 840 Atlantic Ave [MCD‐                                                                                   legal advice concerning McDonald’s lease
CTRL00354104 Privileged ‐ Redact    Attorney Client Sam           Sam Rottenberg [sam.rottenberg@gmail.com] Morris Missry [MISSRY@wmllp.com]                                                                      LEGAL_USA.FID962110]                            Email         5/29/2019 16:41 Outlook Message File           renewal
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                                                    Rottenberg,                                                                                                                                                                                                                                                                legal advice concerning McDonald’s lease
CTRL00354136 Privileged ‐ Redact    Attorney Client Sam           Sam Rottenberg [Sam.rottenberg@gmail.com] Morris Missry [MISSRY@wmllp.com]                                                                      RE: 840 Atlantic Ave                            Email         5/27/2019 18:26 Outlook Message File           renewal
                                                                                                                                                                                                                                                                                                                               Communication for the purpose of providing
                                                    Rottenberg,                                                                                                                                                                                                                                                                legal advice concerning McDonald’s lease
CTRL00354221 Privileged ‐ Redact    Attorney Client Sam           Sam Rottenberg [sam.rottenberg@gmail.com] Morris Missry [MISSRY@wmllp.com]                                                                      Re: 840 Atlantic Ave                            Email         5/22/2019 19:54 Outlook Message File           renewal
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                                                    Rottenberg,                                                                                                                                                                                                                                                                legal advice concerning McDonald’s lease
CTRL00354222 Privileged ‐ Redact    Attorney Client Sam           Sam Rottenberg [sam.rottenberg@gmail.com] Morris Missry [MISSRY@wmllp.com]                                                                      Re: 840 Atlantic Ave                            Email         5/22/2019 19:18 Outlook Message File           renewal
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                                                    Rottenberg,                                                                                                                                                                                                                                                                legal advice concerning McDonald’s lease
CTRL00354298 Privileged ‐ Redact    Attorney Client Sam           Sam Rottenberg [Sam.rottenberg@gmail.com] Morris Missry [MISSRY@wmllp.com]              Tom [tli@sprgp.com]                                     RE: 840 Atlantic Ave                            Email         5/20/2019 19:11 Outlook Message File           renewal
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                                                    Rottenberg,                                                                                                                                                                                                                                                                legal advice concerning McDonald’s lease
CTRL00354561 Privileged ‐ Redact    Attorney Client Sam           Sam Rottenberg [Sam.rottenberg@gmail.com] Tom [tli@sprgp.com]                                                                                   FW: 840 Atlantic Ave                            Email         5/13/2019 20:19 Outlook Message File           renewal




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                                                                                               McDonald's Corporation v. Vanderbilt Atlantic Holdings LLC , Case No. 19‐cv‐06471 (E.D.N.Y.)
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                                                    Rottenberg,                                                                                                                                                                                                                                                  Communication for the purpose of providing
CTRL00355098 Privileged ‐ Redact    Attorney Client Sam           Sam Rottenberg [sam.rottenberg@gmail.com] Morris Missry [MISSRY@wmllp.com]                                                          Re: 840 Atlantic Avenue ‐ FMR                 Email         4/23/2019 21:09 Outlook Message File           legal advice concerning 840 Atlantic appraisal
                                                    Rottenberg,                                                                                                                                                                                                                                                  Communication for the purpose of providing
CTRL00355104 Privileged ‐ Redact    Attorney Client Sam           Sam Rottenberg [sam.rottenberg@gmail.com] Morris Missry [MISSRY@wmllp.com]                                                          Re: FW: 840 Atlantic Avenue ‐ FMR             Email         4/23/2019 16:49 Outlook Message File           legal advice concerning 840 Atlantic appraisal
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                                                    Rottenberg,                                                                                                                                                                                                                                                  legal advice concerning McDonald’s lease
CTRL00355169 Privileged ‐ Redact    Attorney Client Sam           Sam Rottenberg [Sam.rottenberg@gmail.com] Morris Missry [MISSRY@wmllp.com]              Tom [tli@sprgp.com]                         RE: L/C 031‐2093 Brooklyn, NY                 Email         4/15/2019 17:35 Outlook Message File           renewal
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                                                    Rottenberg,                                                                                                                                                                                                                                                  legal advice concerning McDonald’s lease
CTRL00355170 Privileged ‐ Redact    Attorney Client Sam           Sam Rottenberg [Sam.rottenberg@gmail.com] Morris Missry [MISSRY@wmllp.com]              Tom [tli@sprgp.com]                         RE: L/C 031‐2093 Brooklyn, NY                 Email         4/15/2019 17:28 Outlook Message File           renewal
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                                                   Rottenberg,                                                                                                                                                                                                                                                   legal advice concerning McDonald’s lease
CTRL00356359 Privileged ‐ Redact   Attorney Client Sam            Sam Rottenberg [sam.rottenberg@gmail.com] Tom [tli@sprgp.com]                                                                       Fwd: FW: L/C 031‐2093 Brooklyn, NY            Email          3/5/2019 16:04 Outlook Message File           renewal
                                                   Rottenberg,                                                                                                                                                                                                                                                   Communication for the purpose of providing
CTRL00356390 Privileged ‐ Withhold Attorney Client Sam            Sam Rottenberg [Sam.rottenberg@gmail.com] Morris Missry [MISSRY@wmllp.com]              Tom Li [tli@sprgp.com]                      RE: 840 Atlantic Ave McDonalds call           Email          3/4/2019 20:00 Outlook Message File           legal advice concerning 840 Atlantic appraisal
                                                   Rottenberg,                                                                                                                                                                                                                                                   Communication for the purpose of providing
CTRL00356618 Privileged ‐ Withhold Attorney Client Sam            Sam Rottenberg [Sam.rottenberg@gmail.com] Morris Missry [MISSRY@wmllp.com]              Tom Li [tli@sprgp.com]                      RE: 840 Atlantic Ave McDonalds call           Email          2/22/2019 0:44 Outlook Message File           legal advice concerning 840 Atlantic appraisal
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                                                   Rottenberg,                                                                                                                                                                                                                                                   legal advice concerning 840 Atlantic lease
CTRL00356839 Privileged ‐ Withhold Attorney Client Sam            Sam Rottenberg [sam.rottenberg@gmail.com] Morris Missry [MISSRY@wmllp.com]              Tom [tli@sprgp.com]                         Re: 840 Atlantic Ave McDonalds call           Email         2/13/2019 19:28 Outlook Message File           agreements
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                                                   Rottenberg,                                                                                                                                                                                                                                                   legal advice concerning 840 Atlantic lease
CTRL00356842 Privileged ‐ Withhold Attorney Client Sam            Sam Rottenberg [Sam.rottenberg@gmail.com] Morris Missry [MISSRY@wmllp.com]              Tom Li [tli@sprgp.com]                      RE: 840 Atlantic Ave McDonalds call           Email         2/13/2019 16:35 Outlook Message File           agreements
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                                                   Rottenberg,                                                                                                                                                                                                                                                   legal advice concerning 840 Atlantic lease
CTRL00357331 Privileged ‐ Withhold Attorney Client Sam            Sam Rottenberg [Sam.rottenberg@gmail.com] Morris Missry [MISSRY@wmllp.com]              Tom Li [tli@sprgp.com]                      RE: 840 Atlantic Ave                          Email         1/24/2019 17:01 Outlook Message File           agreements
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                                                   Rottenberg,                                                                                                                                                                                                                                                   legal advice concerning 840 Atlantic lease
CTRL00357332 Privileged ‐ Withhold Attorney Client Sam            Sam Rottenberg [Sam.rottenberg@gmail.com] Morris Missry [MISSRY@wmllp.com]              Tom Li [tli@sprgp.com]                      RE: 840 Atlantic Ave                          Email         1/24/2019 16:46 Outlook Message File           agreements
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                                                   Rottenberg,                                                                                                                                                                                                                                                   legal advice concerning 840 Atlantic lease
CTRL00357345 Privileged ‐ Withhold Attorney Client Sam            Sam Rottenberg [sam.rottenberg@gmail.com] Morris Missry [MISSRY@wmllp.com]              Tom [tli@sprgp.com]                         Re: 840 Atlantic Ave                          Email         1/24/2019 14:00 Outlook Message File           agreements
                                                                                                            Rokeach, Tzvi                                                                                                                                                                                        Communication for the purpose of providing
                                                   Rottenberg,                                              [TRokeach@KRAMERLEVIN.com];Tom                                                                                                                                                                       legal advice concerning 840 Atlantic lease
CTRL00357554 Privileged ‐ Withhold Attorney Client Sam            Sam Rottenberg [Sam.rottenberg@gmail.com] [tli@sprgp.com]                                                                           RE: New matter/client B'klyn                  Email         1/16/2019 19:21 Outlook Message File           agreements
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                                                   Rottenberg,                                                                                                                                                                                                                                                   legal advice concerning 840 Atlantic lease
CTRL00357616 Privileged ‐ Withhold Attorney Client Sam            Sam Rottenberg [Sam.rottenberg@gmail.com] Rokeach, Tzvi [TRokeach@KRAMERLEVIN.com] 'Tom Li' [tli@sprgp.com]                         RE: [EXTERNAL] RE: New matter/client B'klyn   Email         1/14/2019 22:00 Outlook Message File           agreements
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                                                   Rottenberg,                                                                                                                                                                                                                                                   legal advice concerning 840 Atlantic lease
CTRL00357626 Privileged ‐ Withhold Attorney Client Sam            Sam Rottenberg [Sam.rottenberg@gmail.com] Rokeach, Tzvi [TRokeach@KRAMERLEVIN.com] 'Tom Li' [tli@sprgp.com]                         RE: [EXTERNAL] RE: New matter/client B'klyn   Email         1/14/2019 20:41 Outlook Message File           agreements
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                                                   Rottenberg,                                                                                                                                                                                                                                                   legal advice concerning 840 Atlantic lease
CTRL00357645 Privileged ‐ Withhold Attorney Client Sam            Sam Rottenberg [Sam.rottenberg@gmail.com] Rokeach, Tzvi [TRokeach@KRAMERLEVIN.com] Tom Li [tli@sprgp.com]                           RE: [EXTERNAL] RE: New matter/client B'klyn   Email         1/14/2019 18:06 Outlook Message File           agreements
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                                                   Rottenberg,                                                                                                                                                                                                                                                   legal advice concerning 840 Atlantic lease
CTRL00357683 Privileged ‐ Withhold Attorney Client Sam            Sam Rottenberg [sam.rottenberg@gmail.com] Rokeach, Tzvi [TRokeach@kramerlevin.com]      Tom [tli@sprgp.com]                         Re: [EXTERNAL] RE: New matter/client B'klyn   Email         1/11/2019 15:27 Outlook Message File           agreements
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                                                    Rottenberg,                                                                                                                                                                                                                                                  legal advice concerning McDonald’s lease
CTRL00357743 Privileged ‐ Redact    Attorney Client Sam           Sam Rottenberg [Sam.rottenberg@gmail.com] Tom [tli@sprgp.com]                                                                       FW: L/C 031‐2093 Brooklyn, NY                 Email          1/9/2019 23:24 Outlook Message File           renewal
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                                                    Rottenberg,                                                                                                                                       Re: FW: Vanderbilt Atlantic Holdings LLC ‐ 2019                                                            legal advice concerning Slater & Beckerman
CTRL00358555 Privileged ‐ Redact    Attorney Client Sam           Sam Rottenberg [sam.rottenberg@gmail.com] Tom [tli@sprgp.com]                                                                       Lobbying Agreement ‐ Please Sign and Return Email           12/7/2018 20:08 Outlook Message File           lobbying agreement
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                                                    Rottenberg,                                                                                                                                       Re: FW: Vanderbilt Atlantic Holdings LLC ‐ 2019                                                            legal advice concerning Slater & Beckerman
CTRL00358556 Privileged ‐ Redact    Attorney Client Sam           Sam Rottenberg [sam.rottenberg@gmail.com] Tom [tli@sprgp.com]                                                                       Lobbying Agreement ‐ Please Sign and Return Email           12/7/2018 20:06 Outlook Message File           lobbying agreement
                                                                                                            Stefanie Marazzi
                                                    Rottenberg,                                             [Smarazzi@slaterbeckerman.com];Raymond                                                                                                                                                               Communication for the purpose of providing
CTRL00359930 Privileged ‐ Redact    Attorney Client Sam           Sam Rottenberg [Sam.rottenberg@gmail.com] Levin [rlevin@slaterbeckerman.com]            Tom [tli@sprgp.com]                         RE: 840 Atlantic PAS                          Email        10/14/2018 23:11 Outlook Message File           legal advice concerning 840 Atlantic rezoning
                                                                                                                                                          Raymond Levin
                                                   Rottenberg,                                                Stefanie Marazzi                            [rlevin@slaterbeckerman.com];Tom                                                                                                                       Communication for the purpose of providing
CTRL00361917 Privileged ‐ Withhold Attorney Client Sam            Sam Rottenberg [sam.rottenberg@gmail.com]   [Smarazzi@slaterbeckerman.com]              [tli@sprgp.com]                             Re: 840 Atlantic                              Email         7/27/2018 16:31 Outlook Message File           legal advice concerning 840 Atlantic rezoning
                                                                                                              Zev Steinmetz [zev@cdcony.com];Aron
                                                    Rottenberg,                                               Feldman [aron@cdcony.com];Simon Dushinsky                                                                                                                                                          Communication for the purpose of providing
CTRL00362688 Privileged ‐ Redact    Attorney Client Sam           Sam Rottenberg [sam.rottenberg@gmail.com]   [simon@rabskygroup.com]                                                                 Fwd: FW: 840 Atlantic Ave                     Email         6/25/2018 17:52 Outlook Message File           legal advice concerning 840 Atlantic rezoning
                                                    Rottenberg,                                                                                                                                                                                                                                                  Communication for the purpose of providing
CTRL00362814 Privileged ‐ Redact    Attorney Client Sam           Sam Rottenberg [sam.rottenberg@gmail.com] Raymond Levin [rlevin@slaterbeckerman.com]                                                Fwd: Atlantic Meeting #1 Notes                Email         6/18/2018 23:25 Outlook Message File           legal advice concerning 840 Atlantic rezoning
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                                                    Rottenberg,                                               Murray Schneier                             Jonathan Eiseman                                                                                                                                       legal advice concerning McDonald’s lease
CTRL00363111 Privileged ‐ Redact    Attorney Client Sam           Sam Rottenberg [sam.rottenberg@gmail.com]   [MSchneier@eisemanlevine.com]               [JEiseman@eisemanlevine.com]                Re: Atlantic Avenue, Brooklyn, New York       Email          6/7/2018 14:39 Outlook Message File           renewal
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                                                    Rottenberg,                                             Murray Schneier                               Jonathan Eiseman                                                                                                                                       legal advice concerning McDonald’s lease
CTRL00363120 Privileged ‐ Redact    Attorney Client Sam           Sam Rottenberg [Sam.rottenberg@gmail.com] [MSchneier@EisemanLevine.com]                 [JEiseman@EisemanLevine.com]                RE: Atlantic Avenue, Brooklyn, New York       Email          6/6/2018 23:53 Outlook Message File           renewal
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                                                   Rottenberg,                                                'Jonathan Eiseman'                                                                                                                                                                                 legal advice concerning 840 Atlantic lease
CTRL00441025 Privileged ‐ Withhold Attorney Client Sam            Sam Rottenberg [sam.rottenberg@gmail.com]   [JEiseman@eisemanlevine.com]                                                            840 Atlantic Avenue, Brooklyn                 Email         6/15/2017 15:43 Outlook Message File           agreements
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                                                   Rottenberg,                                                'MSchneier@eisemanlevine.com'                                                                                                                                                                      legal advice concerning 840 Atlantic lease
CTRL00441125 Privileged ‐ Withhold Attorney Client Sam            Sam Rottenberg [sam.rottenberg@gmail.com]   [MSchneier@eisemanlevine.com]                                                           RE: 840 Atlantic Avenue, Brooklyn, NY         Email         8/22/2017 17:22 Outlook Message File           agreements
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                                                   Rottenberg,                                                'MSchneier@eisemanlevine.com'                                                                                                                                                                      legal advice concerning 840 Atlantic lease
CTRL00441154 Privileged ‐ Withhold Attorney Client Sam            Sam Rottenberg [sam.rottenberg@gmail.com]   [MSchneier@eisemanlevine.com]                                                           RE: 840 Atlantic Avenue, Brooklyn, NY         Email         8/29/2017 22:35 Outlook Message File           agreements




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                                                                                               McDonald's Corporation v. Vanderbilt Atlantic Holdings LLC , Case No. 19‐cv‐06471 (E.D.N.Y.)
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                                                   Rottenberg,                                                'rmoskowitz@stroock.com'                                                                                                                                               legal advice concerning 840 Atlantic lease
CTRL00441316 Privileged ‐ Withhold Attorney Client Sam            Sam Rottenberg [sam.rottenberg@gmail.com]   [rmoskowitz@stroock.com]                                                  FW: Atlantic Ave lease          Email        10/25/2017 21:43 Outlook Message File           agreements
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                                                   Rottenberg,                                                                                                                                                                                                                       legal advice concerning 840 Atlantic lease
CTRL00612601 Privileged ‐ Withhold Attorney Client Sam            Morris Missry [MISSRY@wmllp.com]            Sam Rottenberg [sam.rottenberg@gmail.com]                                 FW: 840 Atlantic Ave            Email          2/6/2019 19:20 Outlook Message File           agreements
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CTRL00641721 Privileged ‐ Withhold Attorney Client Li, Tom                                                                                                                                                              Attach        11/8/2017 20:06 JFIF JPEG Bitmap               agreements




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